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ID          AdmitDate FromDate Thru          P r o v i d e rP a i d PaidDate BillType P r o v i d e rN a m e
 16 4 8 4 3t28t2002 3t28t2002,3t3112002                  $0.00 4t15t2002,812 1IITAS HEALTHCABE               CORPoF FL
 16 4 8 5 3t28t2002 3t28t2002 3t31t2o12             $463.23 4t15t2002812             lvrTASHEALTHCARE        CORPOF FL
 1 6 4 S 6 3t28t2002 4t1t2002 4t30t2oo2i                 $ 0 . 0 0 5tt24t2OO2|]S13 -Vrrns
                                                                                      VITASHEALTHCARE        CORPOF FL
 16 4 8 7 i 3t28t2002 4t'tt2oo2' 4t30/2OO2l              $0.00 5t24t2002813                      xeRltHcARE coRp oF FL
 16 4 8 S ; 3t28t2o12i 4t1t2OO2'1  4t30t2002I $3,695,?7 grCqzpi,oziatt
 16 4 8 9 3t28t2002, 5t1t2002',
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                                   5t3'U2002             $0.00 6t14t2002l813                     HEA!:IHCaRE CORP OFFL
 16 4 9 0 i 3t28t2002 5t1t2002 5t31t2o}zl $ 3 , 5 9 0 . 0 1 6t14t2002813
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                                                                                     |VITASHEALTHCARE        CORPOF FL
 16 4 9 1 3t28t2oO2 6t1t2002 6/30/2002                   $0 00 7t12t2002,813 VITASHEALTHCARE                 CQRPOF FL
  1 6 4 9 2 , 3t28t2002 6t1t2oo;2 6t30t2oo2 $ 3 , 4 4      7 . 2 0 7t12t2002813      I|TAS HEALTHCnne             or ra
 16 4 9 3 3t28t2002i 7t1t2oo217t31t2o)2:,                $ 0 . 0 0 Bilzzooz'ats lvrTASHEALTHCARE             "O*r OF FL
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 16 4 9 4 3t28t2002 7t 1 t 2 o o,2 7 t31t2002 5 3 s    , 9 0 . 0 1 8t12!2002813      lvtTASHEALTHCARE        CORPOF FL
 16 4 9 5l 3t28t2002, 8t1t2002 8t31t2o}2                 $0 00 st72t2oo2l813          VITASHEALTHCARE        CORFOF FL
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 16496 3l28t2oO2' 8t1t2oo2 8t31t2oo2 $ 3 , 5 9 0 . 0 1 sitztzoozlan                               HEaITHCARE coRp oF FL
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    6497 3t28t2oO2' 9t1t2002 9t30t2002,                  $ 0 . 0 0 10t28t2002t813 ivTTASHEALTHCARE           CORPOF FL
 16 4 9 8 3t28t2002     gt1t20o2', 9t30r2002 $ 3 , 4 47 . 2 0 10t28t2002t    813
 '16499                                                                              -VITASHEALTHCARE        CORPOF FL
         3t28t2002 1 0 t 1 t z o o 10t31t2002
                                   2l                $0 00 11t13t2002813               VITASHEALTHCARE  CORPOF FL
 16 5 0 0 3t28t2002 1ot1t20o2,      10131t2002       $ 0 . 0 0 11t13t2002813         ivrTASHEALTHCARE   CORPOF FL
 16 5 0 1 3t28t2oO2 10r1t200210t31t2002 $ 3 , 7 5 9 . 6 711t13t2002,813                     HEALTHCARE  CORPOF FL
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 16 5 0 2 3t28t2DO2 11t1t20021',1t30t2002;           $0 00 12t13t2002813
                                  I                                                  .VITASHEALTHCARE   CORPOF FL
 16 5 0 3 3t28t2oO2 11t1t20021      11t30t20o2 $ 3 , 5 6 2 . 7 7tihztzooztS,t3       ivrTASHEALTHCARE   CORPOF FL
 16 5 0 4 3/28t2002 1 2 t 1 t 2 0 012131t2002
                                    2                $ 0 0 0 1 / 1 3 / 2 0 0831 3      VITASHEALTHCARE  CORPOF FL
 16 5 0 5 3t2B/200212t1t2002        12t31t2002 $ 3 , 6 8 1s 3 1 / 1 3 / 2 0 0831 3    iVITASHEALTHCARE  CORPOF FL
 16506 3t28t2002 1t1t2oo3'.          1t31t2003       $0 00 2t13t2003813                VITASHEALTHCARE  CORPOF FL
 16 5 0 7 3t28t2002 1t1t2003 1t31t2003,              $0 00 2 / 1 3 / 2 0 0831 3      lvtTASHEALTHCARE   CORPOF FL
 16 5 0 8 3t28t2oO2 1t1t2oo3 1t31t2003 $3,7s9.67 2t13t2003,813
                                                                                      .VITASHEALTHCARE  CORPOF FL
 16 5 0 9 3t28t2002 2t1t2}$l 2t28t2003               $ 0 . 0 0 3/13/2003i 813        lvrTAS HEALTHCARE  CORPOF FL
 1 6 5 1 0 3t28t2oO2 2t1t2003 2t28t2oO3 $ 3 , 3 2 5 . 2 5 3/13/2003         1813     IV|TASHEALTHCARE   CORPOF FL
 1 6 5 11 3t28t2002, 3t1t2003i3/31/2003i             $0.00 4/18/2003]813              lvtTASHEALTHCARE  CORPOF FL
 1 6 5 1 2 3t28t2002, 3t1t2OO3    | 3/31/20031 $ 3 . 6 8 1 . 5 3 4/18/2103i 813      IV|IAS HEALTHCARE  CORPOF FL
 1 6 5 1 3 3t28t2002 4t1t2003,4t30t2003              $0 00 5t12t2OO31813               VITASHEALTHCARE  CORPOF FL
 16 5 1 4 3t28t2OO2l4t1t2003 4t30t2oo3 $ 3 , s 6 2 . 7 7 5/12/2003813
                                                                            I        IV|TASHEALTHCARE   CORPOF FL
 1 6 5 1 s 3t28t2002 5t1t2003,5/31/2003              $0.00 6/18/2003
 '16516                                                                     i813     lvlrAs HEAIIICARE CORPoF FL
           3t28t2oO2 511t2003 5131t2003 $ 3 , 6 8 1 . 5 36 / 1 8 / 2 0 0831 3
                                                                                     lvtTAS HEALTHCARE  CORPOF FL
 1 6 5 1 7 3t28t2002 6/1/2003 6/30/2003        $0 00 ,,,o,29931,u3                   lvrTASHEALTHCARE   CORPOF FL
 1 6 5 1 8 3t28t2002 6t1t2003 6/30/2003 $ 3 , 5 6 27 7 7tl4t2003813                    VITASHEALTHCARE  CORPOF FL
 1 6 5 1 9 3t28t2002 7 t1t2003 7 t31t2003      $0 00 8 / 1 3 / 2 0 0831 3            IV|TASHEALTHCARE   CORPOF FL
 16 5 2 0 3r28t2002. 7 t1t2003 7t31t2003 s 3 6 8 15 3 8 / 1 3 / 2 0 0831 3             VITASHEATTHCARE  CORPOF FL
 16521 3t28t2002 8t1t2003,r8/31/2003           $ 0 . 0 0 9/'l1/2003181        3      lvrrAs IE^LTHCARECOEPol FL
 16522 3t28t2002 8t1t2o03l8t31t2oO3'           $0 00 9/11/2003            I813       lvrTASHEALTHCARE   CORPOF FL
 16 5 2 3 3t28t2oO2 8t1t20o3i8t31t2003. $3,73663 s/11/2003Js.
                                                                                     JVTTASHEALTHCARE   CORPOF FL
 16524 3t28t2oO? 9t1t2003 9/30/2003            $0 00 1 0 / 1 3 / 2 0 0831 3            VITASHEALTHCARE  CORPOF FL
 16 5 2 5 3t28t2002 9t1t2003 9/30/2003 $ 3 , 5 6 2 . 7 71 0 / 1 3 / 2 0 0831 3
                                                                                     iVITASHEALTHCARE   CORPOF FL
 16 5 2 6 3t28t2002 10t1t200310131t2003        $ 0 . 0 0 1 1 / 1 0 / 2 0 0 3 i 8 1 3 -VITASHEALTHCARE   CORPOF FL
 16527 | 3t28t2002 'to11t2003 10t31t2003 $ 3 , 7 6 1 . 5 81 1 / 1 0 / 2 0 0831 3     1vlr4g HEALIHC IrE CORPOF FL
 16 5 2 8 3r28t2oO2 1111t2003 1'1l30/2003      $ 0 . 0 0 12t't1t2003'813               VITASHEALTHCARE  CORPOF FL
 16 5 2 9 3t25t2002 11t1t2o13 11/30/2003 $3,640.2412t11t2003               813         VITASHEALTHCARE  CORPOF FL
 16 5 3 0 3t?8t2002 12t1t2003 12t31t2003       $0 00 1t12t2004             813         VITASHEALTHCARE  CORPOF FL
 1 6 5 3 1 3t28t?OO212t1t2o}312r31t2003 $ 3 . 7 6 15 8 1t12t2004           813         VITASHEALTHCARE  CORPOF FL
 16 5 3 2 3t2        1t1t2004 1t31t2004                       1 1 / 2 0 0 48 1 3     iVITASHEAL         CORP OF FL
                            Case 1:04-cv-21431-AJ Document 63-5 Entered on FLSD Docket 01/11/2007 Page 3 of 22
16533 3t28t2002 1t1t2004 1t3112004 $3.76158 2t11t2004813                                         VTTAS     HEALTHC                      OF FL
16534I 3t28t200? 2t1t2004 2t29t20o4,                  $0.00 3t12t2004813                       . V I T A S H E A L T H C A R EC O R P O F F L
16535, 3t28t2002 2r1n004 2t2st2oo4l $ 3 , s 19s0 ' l t t z t z o o c l a t i                     V I T A S H E A L T H C A R EC O R P O F F L
16536 3t28t2002 3t1t2004 3t31t2o041                   $0.0o        4112t2004         813       lvrtes uenltHcAREcoRp oF FL
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'16537                                                              :       -:-    t-t-
          3t28t2o\2' 311120043t31t2004 $ 3 , 7 6 1 . 5'8 4 t 1 2 n 0 0 48 1 3                  , V I T A S H E A L T H C A R EC O R P O F F L
16538 3t28t2002 4t1t2oo4,4t30t2OO4tl                  $0.00I 5/10/2004               813       . V I T A S H E A L T H C A R EC O R P O F F L
16539. 3/28t20O2 4 t 1 t 2 0 0 44t30t2004'
                                     ,         $3,640.24I 5/10/2004                  813       . V I T A S H E A L T H C A R EC O R P O F F L
16540 3t28t2002 511120045t31t2004                     $0 00 i 6/10/2004              813         V I T A S H E A L T H C A R EC O R P O F F L
16541 3t28t2002 5t1l2oo4 5t31t2004 $ 3 , 7 6 15 8 6 / 1 0 / 2 0 0 4 i 8 1 3
                                                                ,                              . V I T A S H E A L T H C A R EC O R P O F F L
16542 3t28t20}2, 6t1t2oo4 6/30/2004                   $0.0or 7/2212004i813 + v t T A S H E A L T H C A R EC O R P O F F L
16543 3t28t2002 6l1l2oo4 6t30t2oo4i $3,640.24                   ), ttZZtZOOalAn                  V I T A S H E A L T H C A R EC O R P O F F L
16544 3t28t2002 7 t1t2004 7t31t2004                   $ 0 0 0 8 / 1 3 / 2 0 0841 3               V I T A S H E A L T H C A R EC O R P O F F L
16545 3t2812002 711t20047 t31t2004i $ 3 , 7 6 1 . 5i8 A l r s l Z o o l l a r :                  V I T A S H E A L T H C A R EC O R P O F F L
16546 3t2't2o}2             8t1t2oo4 8r31t2004        $ 0 . 0 0i 9 / 1 3 / 2 0 0 4 1 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
16547, 3t28t2002 8l1t2OO4l8t31t2OO4l $ 3 , 7 6 1 . 5 8 9 / 1 3 / 2 0 0 4 1 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
                                                               i
16548 3t28t2002 9t1t2004 9t30t2004                    $ 0 0 0 i 1 0 / 1 8 / 2 0 0 4 1 8 1 3 V I T A S H E A L T H C N N EC O N P O T T r
16549 3t28t2002 gtlt2oo4l 9t30t2004 $ 3 , 6 4 02 4 1 0 / 1 8 / 2 0 0841 3                        V I T A S H E A L T H C A R EC O R P O F F L
32335 3t31t2003:,3/31/2003 3/31/2003                  $ 0 . 0 0i 4 / 3 0 / 2 0 0 3 1 8 1 2 V I T A S H E A L T H C A R EC O R P O F F L
32336 3t31t2003 3i31/2003' 3/31/2003             $ 1 1 8 . 7 6 4 / 3 0 / 2 0 0831 2              V I T A S H E A L T H C A R EC O R P O F F L
32337 3/31/2003 4t1t2oo3 4/30/2003                    $oooi 5/s/2oo3lst3 V I T A S H E A L T H C A R EC O R P O F F L
32338 3t31t2003 4t1t2003 4t30t2003',                  $0 00           5/9/2003813                V I T A S H E A L T H C A R EC O R P O F F L
3 2 3 3 9 3 / 3 1 / 2 0 0 3 4/1t2003 4/30/2003 $ 3 , 7 4 51 8         5 / 9 / 2 0 0 38 1 3       V I T A SH E A L T H C A R EC O R P O F F L
32340 3/31/2003 5/1t2003 5/31/2003                    $ 0 . 0 0i 6 / 1 6 / 2 0 0831 3            V I T A S H E A L T I I C A R EC O R P O F F L
32341 3/31/2003 5t1t200315t31t2003 $ 3 . 6 8 15 3 O I T O T Z O O : l O r SV I T A S H E A L T H C A R EC O R P O F F L
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32342 3/31/2003 6/1/2003 6/30/2003                    $ 0 0 0 i 7 / 1 1 / 2 0 0 3 i 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
32343 3/31/2003 6t1t2003 6/30/2003 $3,s62J7 7i11120031813
                                                                |                             r v r T A S H E A L T H C A R EC O R P O F F L
32344t, 3l31l2OO3       i 7t1t2003 7t31t2003,,
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32345 3/31i2003, 711t2003 7t31t2O03          ) s 3 , 6 8 1s 3 I S / 1 1 / 2 0 0 3 1 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
32346 3/3't/2003 8i 1/2003i 8/31/2003                 $ 0 0 0 I 9 / 1 0 / 2 0 0831 3             V I T A S H E A L T H C A R EC O R P O F F L
32347| 3t31t2OO3,8/1/2003 8/31/2003 $ 3 , 6 8 1 . 5 3 9 / 1 0 / 2 0 0831 3
                                                                                               l v r T A S H E A L T H C A R EC O R P O F F L
32348 3/31/2003 9/ t /2003 9/30/2003                  $ o . o o'J11oo//1100//220o0o33 l s 1 3 T V I T A SH E A L T H C A R EC O R P O F F L
32349 3t31t2003 s/1/2003I s/30/2003          i $3,562     77                         813         V I T A S H E A L T H C A R EC O R P O F F L
32350 3/31/2003,10/1/2003 10t31t2003                  $ 0 0 0 f 1 / 1 0 / 2 0 0 3 t 8 1 3 vrrA9 LIE4LTHCARE CORP OF FL
32351 3/3'1/2003        i 10t1t2003110t3'v2003 $ 3 , 7 6 1 . s]811 / 1 0 / 2 0 0 3 r 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
32352 3/3'r12003        r 11tltzo}3l11t3Ot2OO3l       s 0 . 0 0I 1 2 l 1 0 / 2 0 0 3 1 8 1 3 l v r r A s H E A L T H C A R EC O R P O F F L
32353 3t31t2003 11tlt200311t30t2003 s3,640.24 12r10t2003813                                      V I T A S H E A L T H C A R EC O R P O F F L
32354 3t31t2003 12t1/200312t31t2003                   $o oo           1tgr2004t      u3          V I T A S H E A L T H C A R EC O R P O F F L
3 2 3 5 5 3 / 3 1 / 2 0 0 312t1t200312t31t20O3 $3.76158               1tgtzoo|813                V I T A S H E A L T H C A R EC O R P O F F L
32356 3/31/2003 1t1t2004,1t31t2OO4l                   $0.00           ?t9t2oo4t813             j v r T A S H E A L T H C A R EC O R P O F F L
32357 3t31t2003' 1t1t2004 1t31t2004 $3.76158 . 2.tst2}O418l3
                                                                                               . V I T A S H E A L T H C A R EC O R P O F F L
32358 3/31i2003' 2t1tzoo4i 2t2st2oo4l                 $0.00I 9/11/2004181! lvrTAS HEALTHCARE CORP OF FL
32359 3t31t2003 2t1t2004 2t29t2004 $3,518.90 3t11t2004813                                        V I T A S H E A L T H C A R EC O R P O F F L
32360 3t31t2003 3t1/2004 3131t2o}4                    $o.ooi 4/1212004               813         V I T A S H E A L T H C A R EC O R P O F F L
32361 3/31/2003 3t1t2004' 3t31t2oO4' $3,761.58                 1 C'1ZIZOOC'          AB          V I T A S H E A L T H C A R EC O R P O F F L
32362 3i3112003 4t1t2004 4t30t2QO4                    $0.001 5/10/2004               813       I V I T A S H E A L T H C A R EC O R P O F F L
32363 3/31/2003i 4t1t20o4l 4t30t2004 $3,640.24 5/10/2004                             813       I V I T A S H E A L T H C A R EC O R P O F F L
32364 3/31/2003 5t1t2004 5t31t2004                   $0.00 6/9/2004'813                          V I T A S H E A L T H C A R EC O R P O F F L
32365 3/lt1/2003 5t1t2004 5t31t2oO4 $3,76158                          6/9/2004813              , V I T A SH E A L T H C A R EC O R P O F F L
32366 3/31t2003 6t1t2004 6t30t2004                   $0 00 7r21t2oo4                 813       . V I T A S H E A L T H C A R EC O R P O F F L
32367 3/31/2003 6t1t2004 6/30/2004 $3,64024 7t21t2004813                                         V I T A S H E A L T H C A R EC O R P O F F L
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.tl             3131t2003 7 t 1 t 2 0 0 4 7t31t2004                       $0.00 8t12t2004813                       V I T A S H E A L T H C A R EC O R P
323(i9. :\/:t1/2003 7t 1 t 2 U O )4 7/31t2004 $ 3 , 2 6 1 , 5 8 8 t 1 2 t 2 O O 4
                                                                                   i                  tB13       r v t T A S H E A L T H C A R EC O R P O F F L
32370 3t31t2003' 8t1t2004 8t31t2o}4'                                      $ 0 0 0 i _ 9 / 1 3 / 2 0 0 4 j 8 1 3 . V I T A S H E A L T H C A R EC O R P O F F L
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32371i 3!31t20o3:l 8 1 1 l 2 0 O 4 i 8t31t2oO4i $ 3 , 7 6 1s 8 9 / 1 3 / 2 0 0 4 1 8 1 3
32372 3/3'l/2003 st1tzoo4l 9/30/2004                                               ,                             ,VITAS HEALTHCARE CORP OF FL
                                                                  l       $ 0 . 0 0I 1 0 / 1 5 / 2 0 0 4 1 8 1 3 l v r T A S H E A L T H C A R EC O R P O F F L
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4 14 5 1 10t31t20011 0 / 3 1 / 2 0 010t31t2001
                                                i 1                       $0.00].12l10/2001          1812        ivrrAs      HEAIrHCARE         qORPOFFL
4 ' t 4 5 2 11. 0 / 3 1 / 2 0 i0110 / 3 1 / 2 0 I0110/31/2001           $115.81 12l1Ol2OO1'1812 lvrTASHEALTHCARE
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4 ' 1 4 5 3 10t31t20011 1 t 1 t 2 o 011t30t2001
                                                 i1                       $ 0 . 0 0 , 1 2 l 2 1 1 2 08 01 13     , V I T A SH E A L T H C A R EC O R P O F F L
4't454 10t31t2001 11t1t200111t30t2001                                     $ 0 . o o1 1 2 t 2 1 t 2 0 0 1 . 8 1 3 i V I T A S H E A L T H C A R EC O R P O F F L
41455t,10t31t2001 11t1t2001                      ' 11t3ot2oo1:
                                                                      $3,570.0512t21t2001             813        IvrresAeet+rdnneconp or rt
4 1 4 5 6 10 / 3 1 / 2 0 0 112t1t2001              12t31t2001             $ 0 . 0 0, 1 / 1 4 i 2 0 0 2 . 8 1 3 I V I T A S H E A L T H C A R EC O R P O F F L
4 1 4 5 7 10/31/200112t1tzo}112t31t2oO1l $3,590.01                                 i 1t14t2002813
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4 14 5 8 10t31t2001 1t1t2002 1t31t2002,                                                                          I V I T A S H E A L T H C A R EC O R P O F F L
                                                                          $ o . o o| 2 t i 4 t z o o 2 i s 1 3 i v r T A S H E A L T H C A R EC O R P O F F L
4 1 4 5 9 '1ot31t2oo1i 1t1t2OO2i1t31t20o21 $3,590.01| 2t14t2002tt813
                                                                                                                 .VITAS HEALTHCARE CSRP OF FL
4 1 4 6 0 10t3112001 2t1t2002 2t28t2002                                   $0.00i 3/2512002            817        , V I T A S H E A L T H C A R EC O R P O F F L
4 1 4 6 1 10t31t2001 2t1t2oo2,2t28t2oO2:,                                 $0.00 3t25t2002817                       VITASHEALTHCARE              CORPOF FL
41462 10t31t2001               . 2t1t2002.2t28t2oO2 $ 3 , 4 1 9 . 0 5 'i t 2 s t z o o z l , a t z lvtTASHEALTHC.ARE                            CORPOF FL
4 14 6 3 10/31/2001 311t2002 3t31t2oO2'                                   $ 0 . 0 0] 4 r 1 5 1 2 0 0 2 , 8 1 3 VITASHEALTHCARE                  CORPOF FL
4 1 4 6 4 1ot31tzo)1l 3t1t2002:,3t31t2OO2 $ 3 , 5 9 0 0 1 4 t 1 5 t 2 0 0 2 . 8 1 3 Vrtes HeRLtrtcARE
                                                                  |                                                                             coRp oF FL
41465 10t31t20o1', 4t1t2002 4t30t2002                                     $0.00I 5/13/2002813
4 1 4 6 6 10t31/20Q1 4t1/2002 4t3o/2002 $3.47420 5t13t2002                                                       ,VITASHEALTHCARE               CORPOF}L
                                                                                   .                  813         VITASHEALTHCARE               CORPOF FL
4 1 4 6 1 10/31/2001 5t112002 5t31t2002                                   $0.00 6t14t2002813                                 HEALTHCARE
                                                                                                                 ,VITAS                         CORPOF FL
4 1 4 6 8 :10/31i200'l        1 5t1t2oo2i 5t31t2o}2l $3,590.0ii anazooziafi                                       VITASHEALTHCARE               CORPOF FL
4 1 4 6 9 1 O t 3 1 t 2 0i O 16t1t2oo2t,6t30t2002                         $o.oo-, 7t22t2002.817
4 1 4 7 0 10t31t2001 6t1t2002, aizotz.ooz',, $0.00 7t22t2002.817                                                 IvrrAStrE4LI4g4gE              9ORP oF FL
                                                                                   .                            lvlrAs       I1E^LTHCARECOf,P OF FL
4 1 4 7 1 10/31/2001 6t1t20o2l6t30t20021 $ 3 , 6 1 s . 1 4 7t 2 2 r z 0 0 z i 8 1 z
                                                                                   i                             tVlrAS HEAIIHCTARE             cORp oF FL
4 14 7 2 10t31t2001            i, 7t1t2002 7t31t2002                      $ 0 0 0 J 8 / 1 2 1 2 0 0 2 ; 8 1 3 IVITASHEALTHCARE                  CORPOF FL
4 1 4 7 3 10t31t2001 7t 1 t 2 0 o 2 i7 t31t20O21 $3,590.01 8t12t2002i813                                          VITASHEALTHCARE
                                                                                   i                                                            CORPOF FL
41474 10t31t2001 8t1t2002 8t31t20O21                                      $0.00I 9/1212002i813                               HEAlTfbaRE CORp Or rl
4 1 4 7 5 1Dt31t2001 8t1t2oo2:8t31t2002 $3,59001 | 9t12t20}21813 ivrJAS HEALTHCARE
                                                                                                                 IVITAS                         qORp OF FL
4 1 4 7 6 10131t2001 st1tzoozl                      9t30t20o2l            $ 0 0 0 , 1 0 / 2 5 1 2 0 0 2 . 8 1 3 ,VITASHEALTHCARE                CORPOF FL
4 1 4 7 7 10r31t2001'9t1t2002 gt30t2oo2' $3,47420 10t25t2002813
4 1 4 7 8 10/31/2001 10t1t20021                                                                                 rvlTAs HEALTHCARECOf,P OF FL
                                                   1 O t 3 1 t 2 O 0 2 i sooo
4 1 4 7 9 .1 0 / 3 1 / 2 0 l0 110t1t200210t31t2002
                                                                                   frilisrzoo2lst3 VITASHEALTHCARE                              CORPOF FL
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4 1 4 8 0 10t31t2001 10t1t2oo2l                    10t31t2002 $3,857.99            . 11t13t2002813                VITASHEALTHCARE               CORPOF FL
4 1 4 8 1 10t31t20Q1 11t'tt2oo211t30t20o2                                 $ 0 0  0   1 2 l 1 3 / 2 0 0821 3       VITASHEALTHCARE
             'tot31t2001                                                                                                                        CORPOF FL
4148?                             1 1 t 1 t 2 0 011t30t2002
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4 1 4 8 3 10/31/2001r 12t1t200212t31t2002                                 $ 0 . 0 0, 1 / 1 3 / 2 0 0831 3
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41484 10t31t2001 12t1t200212t31t2002 $ 3 . 6 8 1 . 5 3 l / 1 3 / 2 0 0 3
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4 14 8 5 1ot31tzoo1t, 1t1t2oo3' 1t31t2003                                 $ o . o o ' 2 / 1 3 / 2 0 0 a ] s 1 3 iVITA HEALTHCARE                CORPOF FL
4 1 4 8 6 10t31t2001 1 t 1 r 2 o o 31 t31t2003' $3,68153 2t13t2003                                    813        ;VITASHEALTHCARE               CORPOF FL
4 1 4 8 7 10t31t2001 2 t 1 t 2 0 0 32t28t2oO3       ,                     $ 0 0 0 . 3 / 1 3 / 2 0 0 3 . 8 1 3 IV|TASHEALTHCARE                  CORPOF FL
4 1 4 8 8 10t31t2001 2t1t2003 2t28t2003 s 3 . 3 2 5                           2 5 3 / 1 3 / 2 0 0831 3            VITASHEALTHCARE               CORPOF FL
4 1 4 8 9 10t3112001 3t1t2003 3/31/2003                                   $ 0 0 0 . 4 / 1 0 / 2 0 0 3 i 8 1 3 IV|TASHEALTHCARE                  CORPOF FL
4 1 4 9 0 10/31t2001 3t1t2oo3 3/31/2003l                              53,68153 4t10t2003813                      ]VITASHEALTHCARE               CORPOF FL
4 1 4 r1) 10/31/2001               4 t 1 t 2 0 Q 34t30t2oo3               $ 0 . 0 0 5 / 1 2 1 2 0 0 3 r 8 1 3 VITASHEALTHCARE                   CORPOF FL
4 14 ( t , ' 10 / - 1
                    t / 2 0 0 1 4t1t2003 4/30/2003 $3,56277 5t12t2003813                                          VITASHEALTHCARE               CORPOF FL
4 l 4 t t \ 10 / l rI / 2 0 0 1 5t1t2003 5t31t2003                        $ 0 0 0 6 / 1 3 / 2 0 0831 3           ,VITASHEALTHCARE               CORPOF FL
114_\l 10/31/2001 5 t 1                             5t31t2003            681               3 / 2 0 0 38 1 3       VITA              T H C A R EC
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41495 10t31t2001 6t1t2003 6/30/2003                                   $ 0 . 0 0 7t14t2003813                V I T A S H E A L T H C A R EC O R       FL
4 1 4 9 6 1 0 / 3 1 / 2 0 0 1 6/1/2003 6/30/2003 $ 3 , 5 6 2 . 7 7
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41497:10t31t2001'l             7tlt2003, 7t31t2003,                   $ 0 . 0 0, 8 / 1 3 / 2 0 0 3 i 8 1 3 ivtTASHEALTHCARE              CORPOF F L
4 1 4 9 81 0 / 3 1 i 2 0 0 l 1 711120031       713112003     | $ 3 , 6 8 1 . 5 3 8/13/2003I813                        HqALTHCARE         qORl OF F L
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4 1 4 9 91i o / 3 1 / 2 0 0 1 8t1t2003 8i3112003                      $o-00I gulzooalare lvrTAs HEALTHCABE                               CQRPO[ F L
4 1 5 0 01i 0 / 3 1 / 2 0 0 1 ,8t1t2OO3,       8/31/2003' $ 3 , 6 8 1 . 5i3 vrlr-ooalora
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41501 10/31t2001' 9/1/2003i9/30/2003,                                 $0.00I 1 0 i 1 3 / 2 0 0831 3
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41502,10t31t2001 9/1/2003 9i30/2003 $ 3 , s 6 2 . 7I7rori:riooafar                                         lvrTAS HEALTHC4RE             CORPOF F L
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4 . 1 5 0 31 0 / 3 1 / 2 0 0 11 0 / 1 / 2 0 0130 / 3 1 / 2 0 0 3      $0 00 , 11 / 1 0 / 2 0 0 3 1 8 1 3 .VITASHEALTHCARE                CORPOF
4 1 5 0 41 0 / 3 1 / 2 0 0 11OI1t2003't       10/31/2003 $ 3 , 7 6 1 . 5 81 1 i 1 0 / 2 0 0831 3
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41505 10t3112001 11t1t200311t30t2003                                  $0.00 tzrntiooslafi                   VITASHEALTHCARE              CORPOF F L
4 1 5 0 6 1 0 / 3 1 / 2 0 0 1 11I1t2003
         1l                                 | 11/30/2003. $3,640.24t12111t2003',.813                       .vrrAs     tEAlTtlcARE        CORPOF
41507 10t31t2001 12t1t2003i12t31t2003                                 $o.qo    | 'u12t2O04)813              VITAS.HEALTHCARE             CORPOF F L
4 1 5 0 81 0 / 3 1 / 2 0 0 112t1t200312t31t2003              ". $ 3 , 7 6 1 . 5 8 1t12t20041813
                                                                               |                           .VITASHEALTHCARE              CORPOF F L
4 1 5 0 91 0 / 3 1 / 2 0 0 1 1t1tzoo4t,1'31t20o4l                     $0r00'i 2t11t2004813                  VITASHEALTHCARE              CORPOF rL
4 1 5 1 01 0 / 3 1 / 2 0 0 1 1t1t2004 1t31t2004                       $0.00 2t11t20o4i813                   VITASHEALTHCARE              CORPOF r L
4 1 5 1 1 . 1 0 t 3 1 t 2 0 0 111112004,
                                 ,             1t31t2004 $ 3 , 9 4 2 . 1i5 z n ' t t z o o q \ a B
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41512,10t31t20012t1l2oo4'2t2gt2oo4                                    $0.00 llr vzooaigra                  lvrTASHEALTHCARE              CORPOF F L
41513 10t31t2001 2t1l2OO4l2l2gt2\04 $ 3 , 5 1 8 . 9,0 :lrilzoolfara
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4 1 5 1 5 " 1 0 / 3 1 / 2 o O 31112004'
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4 1 5 1 6 . 1 0 / 3 1 / 2 0 04t1t2004
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41517 10t31t2001 4t1t2004 4t30t2004 $3,64024 5 / 1 0 / 2 0 0 4 r 8 1 3
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4 1 5 1 81r 0 / 3 1 / 2 0 0 1 5t1t2oo4i,5t31t2o}4'                    $0.00 6/10/2004j813                  .VITASHEALTHCARE              CORPOF F L
41519 10t31t2001 5t1t2004y5t31t2004 $3,76158                                                                VITASHEALTHCARE              CORPOF F L
41520:,1ot31t2o}1'. 6t1t2004i 6t3ot200ai                                       i 6 / 1 0 / 2 0 0 a 1 8 1 3
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41521)10t31t2001 6t1t200416/30/200a $3,640.24 7t22t20o4i813
                                                                               t                           ,VITASHEALTHCARE              EORPOF F L
41522 10t31t2001 7t1t20o4l7t31t2004                                   $0 00 _ 8/13/2004|813                                              qORP Of F L
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41523t,10t31t20O1          , 7t1t20041         7t31t2OO4 $ 3 , 7 6 1 . 5I8 8 / 1 3 / 2 0 0 4 i 8 1 3 VITASHEALTHCARE                     CORPOF F L
41524 10t31t2001 8t11200418131t2O04                                   $o:oo 9{16/20oa;813                             HEALIHCARECORPOF F L
                                                                                                           lvlrAs
41525 10t31t2001 811t2004 8t31t2004 $ 3 , 7 6 1 . 5 89/16/2004j813                                         JVITASHEALTHCARE              CORPOF ;r L,
4 1 5 2 61 0 / 3 1 / 2 0 0 1 gt1t2oo4,9/30/2004                       $0.00 1 0 / 1 8 / 2 0 M 1 8 1 3 ]VITASHEALTHCARE                   CORPOF F L
41527:t1Ot31t2OO1"9t1t2OO4l9/30/2004 $3,640.2410/18/2004.181                                         3     ,VITASHEALTHCARE              CORPOF F L
46711 2t3t2003 2t3t2003 2t28t2003                                     $0 00 3t12t20031812 VITASHEALTHCARE                                CORPOF F L
4671? 2t3t2003 2t3t20o3i 2t28t2oo3                                    $ 0 . 0 0 3t12t2}o3tBi2              ,VITASHEALTHCARE              CORPOF F L
46713 2t3/20O3 2t3t2003 2t2812003 $ 3 , 3 0 8 . 8 1 inztzoos'tatz                                           VITASHEALTHCARE              CORPOF F L
46714 2t3t2003 3t1t2003 3t31t2003                                     $ 0 . 0 0 4/9/2003813                 VITASHEALTHCARE              CORPOF
46715 2t3t2003 3t1t2003 3/31/2003 s 3 , 6 8 15 3                                     4/9/2008     313       VITASHEALTHCARE              CORPOF F L
46716 2t3t2o}3 4t1t2}O3t 4t30t2}03.                                   $0.00 5/9/2003181              3     .VITASHEALTHCARE              CORPOF F L
46717, 2t3t2}O3tl 4t1t2003 4t30t2003 $3,562t7                                        s/9/20031813 VITAS+iEALTHCAR€                       CORPOF F L
46718 2t3t2003 511t2oo3 5t31t20o3                                     $0.00 6/16/2003I813                  ,VITASHEALTHCARE              CORPOF F L
46719 2t3t2o13 5t1t2003 5t31t2001 $ 3 , 6 8 1 . 5 36 / 1 6 / 2 0 0831 3                                     VITASHEALTHCARE              CORPOF r L
46720 2t3t2003 6t1t2003 6/30/2003                                     $ 0 . 0 0 7121t20O3t817 .VITASHEALTHCARE                           CORPOF r L
46721 2t3t2003 611t2003 6/30/2003                                     $0 00 7 t21tzo}3r817                  VITASHEALTHCARE              CORPOF F L
46722 2t3t2003 6t1t2003t6/30/2003                                     $ 0 . 0 0 7t21t2OO31817 ,vrTASHEALTHCARE                           CORPOF F L
46723 2t3r2003' 6t1t2003:6/30/2003                                    $0 00 7t21t2003817                    VITASHEALTHCARE              CORPOF F L
46724 2t3t2o}3 6t1t2003 6/30/2003                                     $0 00 7 t 2 1 t 2 o \ 3 ' . 8 1 7 VITASHEALTHCARE                  CORPOF F L
46725 ?/3t?OO3 6i 1/2003 6/30/200:l $ 1 1 , 2 3023 7 t21t2003                                               VITASHEALTHCARE              CORPOF F I
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46726 2t,\t2003 7t1t2003 7t31t200:\                                   $0 00 8/29t2003817                    VITASHEALTHCARE              CORPOF F L
46727 2t3t2003 7t1t2003 7t31/2003                                     $0 00 8 t 2                           V I T A S H E A L T H C A R EC O R P O F F L
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46728 2t3t2003 711t20037t31t2003                $0 00 , 812912003      817     VIT              L T H C A R EC O R P O F F L
46729, 2t3t2003 7t1t2003 7t31t2oo3              $0.00i 8/29/2003       817   -V VIIT TAASS H E A L T H C A R EC O R P O F F L
46730 2t3r2003 7/1tz}O3:i7.31t2OO3i             $0 00 ' 8t29t2003817                       H E A L T H C A R EC O R P O F F L
46731I 2B|2OO3 | 711t2003 7t31t2003             s0.00 alzslzooa]arzlvrrAsHEALTHCAEE                           CORPOFFL
46732 2t3t2003 7t1t2o$j. 7t31t20031             $0.00 ntisriooziafi                        HEALTHCARE         CORPOF FL
46733i 2t3t2OO3,7l1t2OO3i7t31t2003t, $ 7 , 6 5 2 . 6'7 atlstzoo3',8tt lvtTAS   VITAS
                                                                             'V   I T A S HEALTHCARE CORP OF FL
46734 2t3t2003 8t1t2003i8/31/2003i              $0.00I gliolzooriora                       H E A L T H C A R EC O R P O F F L
46735i 2t3t2OO3 8/1/200318t31t2003; $ 3 , 6 8 1 . 5 3 9/10/2003'8'l       3    V I T A S H E A L T H C A R EC O R P O F F L
4G736 2r.\/7003 9/1/2003 9/30/2003              s0 00 10/10/2003,813         , V I T A S H E A L T H C A R EC O R P O F F L
46737. 2t3t?OO3 9/1/2003 9/30/2003 $ 3 , 5 6 2      7 7 10/10/2003,813       , v t T A S H E A L T H C A R EC O R P O F F L
46738 2t3t2003 1Ot1t200310131120031             s0 00 1 1 / 1 9 / 2 0 0831 3    V I T A S H E A L T H C A R EC O R P O F F L
46739 2t3t2003 10t1t20O3   10/31/2003i          $0 00 11/ 19 / 2 0 0 3 , 831 IVITASHE*ITHCARE CORP OF FL
46740:. 213/2003 1Dt1t2003i10/31/2003           $0 00 11/19/2003       8't3  ] V I T A S H E A L T H C A R EC O R P O F F L
46741, 2t3t2003 10t1t2003  10/31/2003           $0 00 1 1 / 1 9 / 2 0 0831 3 . V I T A S H E A L T H C A R EC O R P O F F L
46742" 21312003.1O/1/20031 10/31/2003 I         $0 00 11/19/2003      i813     V I T A S H E A L T H C A R EC O R P O F F L
46743 2t3r2003 10t1 t2003"1O/31/2003i           $0 00 1 1 / 1 9 / 2 0 0831 3 . V I T A S H E A L T H C A R EC O R P O F F L
46744' 2t3t2003 10t1t200310/31/2003 $s,20246 1 1 / 1 9 / 2 0 0831 3            V I T A S H E A L T H C A R EC O R P O F F L
46745 2/3t2003 11| 1t2OO3.1 1/30/2003           $0 00      219t2004817
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46746, 2t3t2o\3 11t1t200311/30/2003             $0.00 ztgiiooqiatt                         HenlrHcARE coRp oF FL
46747 2t3t2003 11t1120031  11/30/2003           s0 00      2t9t2O04817          VITAS HEALTHCARE CORP OF FL
46748 2t3t2003 11I 1 t2003111 l30t2o}3', $ 1 5 , 4 0786    2t9t2004817          V I T A S H E A L T H C A R EC O R P O F F L
4{;749 2/3/2003 12/'V200312/31/2003             $0 00      1/9/2004813          V I T A S H E A L T H C A R EC O R P O F F L
46750 2t3/2003 12t1t2oo312t31t2003 s 3 , 7 6 1s 8          1t9t2004813       . V I T A S H E A L T H C A R EC O R P O F F L
46751 2t3t2003 1t1t2004 1t3',U2004              $0 00      2t9t2004,813      . V I T A S H E A L T H C A R EC O R P O F F L
46752 2t3t2003, 1t1t20o4..  1t31t2OO4 i $3,761      58     2t9t2004p13       r v r T A S H E A L T H C A R EC O R P O F F L
46753 2t3t2003, 2t1t2004,2t29t20j4i             $ 0 . 0 0 311112004   i813   ] V I T A S H E A L T H C A R EC O R P o F F L
46754 2t3t2003 2t1t2OO41    2t29t2oj4l $ 3 , 5 1 8 . 9 0 3/11/2004 3            VITAS HEALTHCARE CORP OF FL
46755 2t3t2003' 3t1t2004, 3t31t2004tl                                 181
                                                $0 00 4t12t2004813           ' vVrIiTRAsS A E A L T H C A R EC O R P O F F L
46756 2t3t2003 3t1t?004t 3/31t2004\             $0 00 qiiztzoo4tta13                       geRLTHcARE coRp oF FL
46757 2t3t2003 3t1t2OO4   , 3t31t2OO4           $0.00 4t12t2004)813 r v t T A S H E A L T H C A R EC O R P O F F L
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46758 ?/3/2003 3t1t20Q4:3,31t2004i              $0 00 4/1212004i813 . V I T A S H E A L T H C A R EC O R P O F F L
46759 2t3t2003 3t1t2OO4,,   3131l2OO4l          $0 00 t, 4t12t2004p13        ] V I T A S H E A L T H C A R EC O R P O F F L
46760 2t3t2003 3t1t2004i3t31t2OO4t)$4,818 'l 4f2t2\O4i813                    ]VITAS HEALTHCARE CORP OF FL
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46761 2t3r2003 4t1t2004t4t3ot2004]              $0 00 5/10/2004        813   . V I T A S H E A L T H C A R EC O R P O F F L
46762 2t3t2003 4t1t2OO4,i   4t3Ot2OO4ls3,64024 I s l r o l z o o l i o r g i v r T A s H E A L T H C A R EC O R P O F F L
46763 2t3t?OO3 511t2004 5t31t2004               $0 00      6/9/2004813         V I T A S H E A L T H C A R EC O R P O F F L
46764 2t3t2003 5t112004 5t31t2004' s 3 , 7 6 1s 8 I olgrzoolgr3                V I T A S H E A L T H C A R EC O R P O F F L
4G765 2t3t2003 6t1t2004 6t30t2oo4               $0 00 . 7t21t2004813           V I T A S H E A L T H C A R EC O R P O F F t
46766 2t3t2003 6t1t2oo4t6/30/2004 $3,64024 . . 7 t 2 1 1 2 0 0 4 i 8 1 3
                                                                             ] V I T A S H E A L T H C A R EC O R P O F F L
46767 2t3t2003 7l1t2oo4ii7 131   t2OO4:l        $0.00, 8t12t2004',813 i V I T A S H E A L T H C A R EC O R P O F F L
46768. 2t3t2003 7t1t20o4, 7t3'lt20o4)           $0.00, 8t12t20041813 l v r T A S H E A L T H C A R EC O R P O F F L
46769 2t3t2003 7tlt2004 7t31t2004               $0 00 8t12t2004813             V I T A S H E A L T H C A R EC O R P O F F L
46770 2t3t2003 7t1t2oo4 7 t31t20o4     ,        $0 00 . 8112t2004              V I T A S H E A L T H C A R EC O R P O F F L
                                                                      ,813
46771 2t3t2003 711t20047t31t2004 $ 5 , 1 6 18 5 8t12t2004813                   V I T A S H E A L T H C A R EC O R P O F F L
46772. 2t3t2003. 811t20o4.8t31t2004i            $0.00 9/13/200a,813          I V | T A S H E A L T H C A R EC O R P O F F L
46773 2/312003 8t1t2004 8t31t2004               $0 00 9/13/2004'81        3    V I T A S H E A L T H C A R EC O R P O F F L
46774 2t3t2003 8t112004,8t31t2004i              $0 00 9/'13/2004       813   i V I T A S H E A L T H C A R EC O R P O F F L
4G775 ?t3/?OO3 8t1t2004 8t31t2004               $0 00 9 / 1 3 / 2 0 0841 3   , V I T A SH E A L T H C A R EC O R P O F F L
46776 2t312003 Bt1t2oo4 8t31t2004 $ 8 . 3 9 6       r 4 . 9/13t2004   .813   . V I T A S H E A L T H C A R EC O R P O F F L
46777 2t3t2003     1t2004 9/30/2004                      10t15t2004    813     V I T A S H E A L T H C A R EC O R P O F F L
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46778          2t3t2003           9t1t2004 9t30t2004            $ 3 . 6 4 0 . 2 41 0 / 1 5 / 2 0 0841 3        VITAS                          CORP OF FL
7 6 6/ I t o t 3 1 t 2 0 0 1 1 0 / 3 1 / 2 0 0 1t o
                                                  , llilzoot          $ 0 . 0 0I 1 2 1 5 / 2 0 0 1 i 8 1 2 V I T A S H E A L T H C A R EC O R P O F F L
7 6 6 7 8 1 0 / 3 1 / 2 0 0 110/31/2001j 10/31/2001               $115.81
                              i                                                r 1 2 t 5 t 2 o 0 1 ) 8 1 2 l v r T A S H E A L T H C A R EC O R P O F F L
76679 10t31t2001 11t1 t200'li 11t30t2001                              $ 0 . 0 0L 1 2 t 1 3 { 2 0 0 1 1 8 1 3 vrTAS HEALTITqARE CORP OF FL
7 6 6 8 0 : 1 0 / 3 1 / 2 0 0i 1 11t1 t2OO1i    tt tsotzoot           $ 0 . 0 0I 1 2 l 1 3 / 2 0 0
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7 6 6 8 1 1 0 / 3 1 / 2 0 0 1 11t1t2OO1,        11/30/2001   . $3,617.32 I 12n3t20011813                     IVITAS HEALTfICARE CORP OF FL
76682 1Ot31t2OO1ti121112001'                    12t31t2001            $0.00 1t10t2o021813 vrrAs HEALTHC4RE CqgP QF FL
7 6 6 8 3 1 0 / 3 1 / 2 0 0 1I 1211 t2OO1't     12131l2OO1i1 $3,5s0.01'| ilr olzoozlerr                        VITAS HEALTHCARE CORP OF FL
7 6 6 8 4 1 0 / 3 1 / 2 0 0 1 1 t 1 t 2 0 0 21 t 3 1 t 2 O 0 2 i      $o.oo 2/11t2oo2;)813 V I T A S H E A L T H C A R EC O R P O F F L
76685 10/31/2001                  'tt112002 1t31t2002 $3,590.01 2t11t2O02i813
                                                                                                             i v r T A S H E A L T H C A R EC O R P O F F L
7 6 6 8 6 10 / 3 ' t / 2 0 0 1 2t1t2002 2t28t2002                     $0.00 3/11/2002            1813          V I T A S H E A L T H C A R EC O R P O F F L
7 6 6 8 7 1 O / 3 1 / 2 0 0 1 2t1t200?        , 2t28t2002             s 0 . 0 0i 3 / 1 1 / 2 0 0 2 i 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
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7 6 6 8 8 1 0 / 3 1 / 2 0 0 1 2t1t200212r28t2002:, $3,419.05 3t11t2012t813 j v r r n s H r e l r H c A R E c o R p o F F L
7 6 6 8 9 .1 0 / 3 1 / 2 0 0i1 3t1t20o2, 3t31t2o02i                                                            V I T A S H E A L T H C A R EC O R P O F F L
7 6 6 9 0 . 1 0 / 3 1 / 2 0 0 1 3t1120O2;         3131120021                                                IV|TAS HEALTNCARE CORP OF FL
7 6 6 9 1 1 0 / 3 1 / 2 0 0 1 4111200211          413012002                                                    V I T A S H E A L T H C A R EC O R P O F F L
7 6 6 9 2 1 0 / 3 1 / 2 0 0 1 : 4t1t2OO2)         4r3Ot2OO2  .                                               . V I T A S H E A L T H C A R EC O R P O F F L
7 6 6 9 3 1 0 / 3 1 / 2 0 0 1 4t1t2o02l4t3jt2002,                                                              VITAS HEALTHCARqQORP OF FL
7 6 6 9 4 1 0 / 3 1 i 2 0 0 1 4t1t20o2i 413O12002t                                                             V I T A S H E A L T H C A R EC O R P O F F L
7 6 6 9 5 1 0 / 3 1 / 2 0 0 1 5t1t20o2l5t31t2j02i                     $0  00 I 6/-10/20021813V I T A S H E A L T H C A R EC O R P O F F L
7 6 6 9 6 1 0 / 3 1 / 2 0 0 'it 5t1t?00215t31t2002,1$3,59001 6110t2002'813 V I T A S H E A L T H C A R EC O R P O F F L
7 C ' 6 9 7 1 0 t 3 1 t 2 0 0 1 6/1t2002 6/30/2002                                                             V I T A SH E A L T H C A R EC O R P O F F L
7 6 6 9 8 1 0 / 3 1 / 2 0 0 1 6t1r2oo2' 6t30t2oo2'                                                             V II iTAASS H E A L T H C A R EC O R P O F F L
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7 6 6 9 9 1 0 / 3 1 / 2 0 0 1 7I 1 t20o2ti 7 t3.tt2oo2\                                                                    H E A L T H C A R Ec o R P o F F L
7 6 7 0 0 r 0 / 3 1 / 2 0 0 1 7t1t2OO2l           7t31t2OO2'j$ 3 , 5 9 0 . 0 1 - 8 / 9 / 2 0 0 2 8 1 3       ivlr{s HE lrLrcARE CORP OF FL
7 6 7 0 1, 1 0 t 3 1 t 2 0 0 1 " 811/2O02i8131120021                  soool sirrTzooziar              s     .VITAS HEALTHCARE CORP OF_FL
76702 10t31t2001 8/1t200218t31t20021 $3,590.01 Sirilzoozjoro
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7 6 7 0 3 1 0 / 3 1 / 2 0 0 1i 9t1t2OO2'1         9/30/20021          s0.00I 10/25120021813 I V I T A S H E A L T H C A R EC O R P O F F L
76704 10t31t2001 st1t20o2) 9/30/20021                                 $0.00110/25120021813 VITAS HEALTHCARE CORP OF FL
7 6 7 0 5 1 0 / 3 1 / 2 0 0i1 9t1t2O02)9t3Ot20O2, $3,650.66110t25t2}028'13
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7 6 7 0 6 1 0 t 3 1 t 2 0 0 1 : 10t1t2002:10t31t2002,                 $ 0 . 0 01 1 1 / 1 1 / 2 0 0 2 ' 8 1 3 ]VITAS HEALTHCARE CORP OF FL
76707 10t31t20O1:,1Ot 1| 2OO2't                 1OI31 l2OO2'1 $3,68153 ) 11t11t20021813
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7 6 7 0 S 1 O / 3 1 / 2 0 0I1 11t 1 t2OO2l11 t3Ot2OO21l               $ 0 , 0 0 1 2 l 1 1 / 2 0 0821 3                                        coRp oF_FL
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7 6 7 0 9 1 0 / 3 1 / 2 0 0 1 11t 1t2oo2y11t3ot2oo2
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7 6 7 1 0 1 0 t 3 1 t 2 0 0 1 i 12t1t2002t,     12t31t2002            $ 0 . 0 0I 1 / 1 0 / 2 0 0 3 i 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
7 l ; t 1 1 1 0 t 3 1 t 2 0 0 1 12t1t2OO2i      12t31   t2OO2",$ 3 , 6 8 15 3 1 / 1 0 / 2 0 0 3 1 8 1 3 . V I T A S H E A L T H C A R EC O R P O F F L
7 6 7 1 2 1 0 / 3 1 t 2 0 0 1 1t1t2003"1t31t2003"                     $ 0 0 0 2 / 1 2 i 2 0 0 3 ' 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
7 6 7 1 3 1 O / 3 1 t ? O O 1 1t1t2003 1t3112003 s3.68153 2t12t2003                                813         V I T A S H E A L T H C A R EC O R P O F F L
7 6 7 1 4. 1 O t 3 1 t 2 O |O 1 2t1t?oo3r 2t28t2OO3)                  $ 0 0 0 , 3 / 1 2 1 2 0 0 3 , 8 1 3 . V I T A S H E A T T H C A R EC O R P O F F L
7 6 7 1 5 1 0 t 3 1 t 2 0 0 1 2t1t2O03'\2t28t20031 $3,325.25 3t12t2003,813
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7 6 7 1 6 .1 0 / 3 1 / 2 0 0i 1 3t1t20Tl 3t31t20031                   $ 0 . 0 0 , 4 / 9 / 2 0 0 3 1 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
7 6 7 1 7 1 0 t 3 1 t 2 0 0 1 311t20o33/31/2003i $3,68153                           4t9t2003813             . V I T A S H E A L T H C A R EC O R P O F F L
7 6 7 1 8 1 0 t 3 1 t 2 0 0 1 4t1t2O03,4t30t2003                      $o oo         5/9/2003813
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7 6 7 1 9 1 0 t 3 1 t 2 0 0 1 4t1t2003 4t30t2003 $ 3 . 5 6 2 7 7 ' 5 / 9 / 2 0 0 3 ' 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
76720 10t31t2001                  5t1t2003'i5/31/2OO3i                $ 0 . 0 0 6 / 1 6 / 2 0 0 3 1 8 1 3 I V | T A S H E A L T H C A R EC O R P O F F L
7 6 7 2 1 1 0 t 3 1 t 2 0 0 ' l 5t1tzoo3l 5,3112003 $ 3 , 6 8 1 . 5 3 6 / 1 6 / 2 0 0831 3                     V I T A S H E A L T H C A R EC O R P O F F L
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7 6 7 2 2 1 0 t 3 1 t 2 0 O 1 6t1t2003 6/30/2003                      $0 00 7t11t2003'813 V I T A S H E A L T H C A R EC O R P O F F L
7 6 7 2 3 1 0 t 3 1 t 2 0 0 1 6t1t2003 6/30/2003 $ 3 . 5 6 2              7 7 7 t 1 1 t 2 0 0831 3           , V I T A S H E A L T H C A R EC O R P O F F L
1 6 7 2 4 1 0 t 3 1 t 2 0 0 1 7t1/?OO37t31t2003                       $ 0 o o 8 / 11 / 2 0 0 38 1 3          . V I T A S H E A L T H C A R EC O R P O F F L
7 6 7 2 5 1 0 t 3 1 t 2 0 0 1 7t1t20Q37t31t200                     . 6 8 15 3 8 / 1 1 / 2 0 0831 3             V I T A S H E A L T H C A R EC O R P O F F L
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76726 10t31t2001 8t1t2003 8/31/2003                       $ 0 0 0 9 / 1 0 / 2 0 0831 3        V I T A S H E A L T H C A R EC O R P O F F L
7 6 7 2 ,71 O t 3 1 t 2 Oi O 18/1/2003 8/31/2003
                                                                                            ivtTAs HEALTHCARE              CORPOF FL
76728i1Ot31t20O19/1/2003 9/30/2003                                                                      HEALTHCARE         coRp oF FL
767291,   10t31t2001      , 9t1t2003 edo/2oo3l                                              lvrrAs
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76730 10/31/2001          I 9/1/2004i 9/30/2003                                                         HEALTHCARE         CORPOF FL
76731't   1Ot31t2OO1')        stltzoBj        glsorzoos                                                 HEALTHC^RECQRPOF FL
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76732:10t31t2001'10t1tzoo3'i                 1o/31/2003I
76733:1ot31t2o}1 1ot1t20o3i                                                                 lvrrAs ILEALIICARE C€RP OF FL
                                             10/3i/2003i                                    lvrTASHEALTHCARE               CORPOF FL
76734 10t31t2001:10t1t200310/31/2003                    '                                   lvrTAs HEALTHCARE              CORPOF FL
76735.t1Ot31t2OO1         . 1 1 t I t 2 0 0 311
                                              ' )/30/2003                                               HEALTHCARE         CORPOF FL
76736 10t31t2001;11t'1t200311/30/2003                                                       ,VITAS
                                                                                            lvrTAs HEALTHCARE              CORPOF FL
76737.10131t20O                111
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76738 10/31/2001 12t1t20O3".                                                                iVITAS
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                                                                                            lvtTAS HEALTHCARE              CORPOF FL
7 6 7 3 91 0 / 3 1 / 2 0 0 1 11tlt200411t31t2004
76740i1Ot31t20O1                                                                            lvrTASHEALTHqARE               CORPOF FL
                          i 1ll tz}O|tl 1t31t2OO4l                                          ,VITAS      HEALTHCARE         CORPOF FL
76741 10t31t2001 1t1t2004 1131t2004                                                                     HEALTHCARE         CORPOF FL
76742 1ot31t2o}1 2t1t2oo4:2t29t20o4\                                                        IVITAS
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76743 10t31t2001              2/1t2004t,      2t29t2oo4                                                 He4llndnnecoRpor rl
76744 10t31t20O1' 3t1t2004r,3t31l2OO4'l                                                     ]vrrns
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76745 1ot31t2o}1          , 31112004"         3t31t2004't
76746 10t31t2001' 3t1t2004 3t31t200411                                                     lvrrAs [E4l]Hc4REcqRPof FL
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76747 10t31t2001 4t1/2004 4t30t2004                       $0.00 5t10t2004           813      V I T A S H E A L T H C A R EC O R P O F F L
76748 10t31t2001 4t1/2004 4t30t2004                       $ 0 . 0 0 5 / 1 0 / 2 0 0841 3     V I T A S H E A L T H C A R EC O R P O F F L
76749 10t31t2001 411t2004 4t30t2004i $ 7 , 0 1 0 . 6 4 5 / 1 0 / 2 0 0 4 j 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
76750 4t18t2004 5t1t2004,st31t2004
                                                                                            ivtrAs HEAITHqARE CORP OF FL
76751, 4t18t2o}4 5t1t2004 5t3112004
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76752,10t31t200't         i 6t1t2004 6t30t2oo4l                                             ivrTAS HEAITHCARE CORP OF FL
76753,10/31/2001i 6t1t20o4l6/30/2004                                                         vrTAS HEALTIICARE CORP OF FL
7 6 7 5 41' .O t 3 1 t 2 0 O 17it1t2OO4l7t31t2004:                                                      HEALTHCARE CORP OF FL
                          ,, 7l1l2Ooa 7t31t2oo4,                                            lvrTAS
76755 10/31t2001                          1                                                  V I T A S H E A L T H C A R EC O R P O F F L
76756 10t31t2001 811t2004                  | 81612004                                       . V I T A S H E A L T H C A R EC O R P O F F L
76757 1ot31t2o}1 8t1t2004 8t6t2oo4',
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76758' 10t3112001 8t1t2oo4' 8t6t2004|
g4423j it2it2oo31, 1t21t2003',1t31t2003                                                     ,VITASHEALTHCARE.ORP OF FL
                                                                                             V I T A S H E A L T H C A R EC O R P O F F L
94424 1t21t2003 1t21t2003 1t31t2003
                                                                                            . V I T A S H E A L T H C A R EC O R P O F F L
94425 1t21t2003 1t21t2o}3: 1t3'tt20o3                                                        V I T A S H E A L T H C A R EC O R P O F F L
e4426 1t21t2003 1t21/2003 1t31t2o}3                                                          V I T A S H E A L T H C A R EC O R P O F F L
94427 1t21t2o}3 2t1t2003 2t28t2003                        $0 00 3t12t2003813                 V I T A S H E A L T H C A R EC O R P O F F L
94428, 1/2112003          . 2t1t2oo3,2t28t2003 $ 3 , 3 2 5 . 2 5 3 / 1 2 l 2 0 0 3 1 8 1 3 rv!!\s HEALTLTCARE              CoIRPOF FL
94429. 1t21t2003, 3t1t2003 3/31/2003                    i $0.00 4/9/2003813                  vtTAS HEALTHC_ARECORP                OF FL
94430. 1t211200313t1t2003,i3t31t2oO3', $3,6s1.53 llSlZOOil8 1 3
                                                                   ,                       ,VITASHEALTHCARE                CORPOF FL
94431 1t21t2003 4t1t2003 4t30t2003                        $0 00       5/9/2003.     813      VITASHEALTHCARE               CORPOF FL
94432 1r21t2003 4t1t2003 4/30/2003 $3.562.77 5/9/20038 1 3                                   VITASHEALTHCARE               CORPOF FL
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94433 1t21t2003' 5t1t2oo3' 5t31t2003                      $0 00 6/16/20031          813      VITASHEALTHCARE               CORPOF FL
94434 1t21t2003 511t2O03i5t31t2003                        $0.00r 6/16/20031
94435 1t21t2003 5t1t2oo3\ 5t31t2o}3 $3,80316 6/16/20038 1 3
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94436 1t21t2003 6t1t2003 6/30/2003                        $ 0 . 0 0I 7 / 1 1 / 2 O o831l3    VITASHEALTHCARE               CORPOF FL
94437 1 t2112003: 6t'1t2003 6/30/2003 $3,56277 7t11t2003:,
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94438 1t21t2003 7 t1t2003 7 t31t2003                      $0.00 8t1112003           813      VITASHEALTHCARE               CORPOF FL
94439 1t21t2003 7 tlt2oo3 7 t31t2003 $ 3 , 6 8 1 . 5 3 8 t 1 1 t 2 0 0831 3                  VIT               THCARECORP OF
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   94440 1t21/2003 8t1t2003 8t31t2003                       00 9/10/2003           813          VITAS HEAL                   E CORPOF FL
   94441 1t21t2003 8t1t2003 8/31/2003                   $ 0 0 0 I 9 / 1 0 / 2 0 0 3 L 8 l 3 lvrTASHEALTHCARE                   CORPOF FL
   94442 1t21t2003, 8t1t2oo3 8/3.1/2003'                $0.00 9/'r0/2003           813        lvtTASHEALTHCARE                 CORPOF FL
   94443t 1t21t2o}3i, 8t1t2oo3,8/31/2003I               $ o o o J e / 1 o 2 o o 3 ] 8 1 3 VITASHEALTHCARE                      CORPOF FL
   94444 1t21t2003' 8t1t2003 8/31/2003I                 $0.001 9/10/20031813 VrrnsxeerrncARE                                   coRpoF FL
  94445.   ',U21t2003
                            8/1/2003 8i31/2003I $6,643.39 9/10/2003                813          VITA- HEAITHCARECORPOF FL
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  94446 1t21t2003 9/'l12003
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   94448 1t21t2003 9/1/2003 9/30/2003 5 3 , 6 4 1 . 4 01 0 / 1 0 i 2 0 0 3 , 8 1 3
                                                                                              ,VITASHEALTHCARE                 CORPOF FL
  94449,   1t2112003.      10t1t200310/31/2003          $ 0 . 0 0r 1 1 / 1 0 / 2 0 0 3 1 8 1 3.VITASHEALTHCARE                 CORPOF FL
  94450 1t21t2003,10/1/2003i 10/31/2003 $ 3 , 7 6 1         5 8 i 1 1 / 1 0 / 2 0 0 3 r 8 1 3 VITASHEALTHCARE                  CORPOF FL
  94451 1t21t200311t1t200311t3ot2oo3                    $0 00         1t2t2004')817 iVITASHEALTHCARE                           CORPOF FL
   94452 1t21t2003111t1 t2o13 11/30t20O3:               $0 00         1t2t2004)817 lvrTAsHEALTHCARE                            CORPOF FL
   94453 1t21t2003 11t1t2o1311/30/2003 $3,718.87 1t2t20041817                                                                  CORPOF FL
                                                  i              )                            ivTTASHEAITHCARE
   94454, 1t21t2oo3)12t1t2o}31213112003t                $ 0 . 0 0i 1 / 9 / 2 0 0 4 1 8 1 3 ivrTASHEALTHCARE                    CORPOF FL
  94455 1t21t2003 12t1t2o}312t31t2003 $ 3 , 7 6 1 . 5 8 1 / 9 / 2 0 0841 3                      VITASHEALTHCARE                CORPOF FL
  94456 1t21t2o}3 1t1t2004 1r31t2oO4                    $o oo i 2tgt2oo4813                     VITASHEALTHCARE                CORPOF FL
   94457 1t21t2003 1t1t2004 1t31t2004. $ 3 , 7 6 1 . 5 8 ' , 2 t 9 t 2 } O t , , 8 t 3
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  94458 1 t21t2o}3 2t1t2004,.2t29t2004                  $ 0 . 0 0] 3 / 1 0 / 2 0 0 4 1 8 1 3 .VITASHEALTHCARE                  CORPOF FL
  g445g 1t21t2o}3 2t1t2004 2r29t2oO4'
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   94460, 1t21t2o}3 2t1t2oo4l 2t29t2004 $ 3 , 6 7 91 4 3 i 1 0 1 2 0 0 4 1 8 1 3 VITASHEALTHCARE                               CORPOF FL
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  94461 1 t21t2003 311120043/30t2004                    $0 00 4t12t2004             814         VITASHEALTHCARE                CORPOF TL
  94462 1t21t2003 3t1t2004 3t30t2004                    $0.00I 4/1212004           814          VITASHEALTHCARE                CORPOF FL
  94463 1t21t20031,3t1t2oo4 3/30/2004 $3,720.36 4t12t2j04:814                                   VITASHEALTHCARE                CORPOF FL
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110290 3t7t2002 317t2002 3t31t2oo2                      $0.001 6/20120021811 VITASHEATTHCARE                                   CORPOF FL
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             3r7t2002' 3t7t2002 3t31t2002               $000 I 6/20/2002           81|          VITASHEALTHCARE                CORPOF FL
 110292., 3t7t2oo2 3t7t2oo2' 3t31t2002',                $0.00I 6/20/20021811 VITAS HEALTHCARE CORP OF FL
110293, 3r7t2002, 3t7t2oo2, 3t31t2002 $4,972.68                  | atzotzoozlat                 V I T A S H E A L T H C A R EC O R P O F F L
1 r 0294 3t7t2002 4t1t2oo2' 4t30t20021                  $ o o o I 5 / i 3 / 2 0 0 2 1 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
110295 3/7/2002 4t1t2002 4t3Dt2DO2                | ,3.474.20i 5t13t2002813                     V I T A S H E A L T H C A R EC O R P O F F L
110296 3t7t2002 5t1t2oo2' 5t31t20021                    $o oo i -/13/2002i813                   V I T A S H E A L T H C A R EC O R P O F F L
110297 3t7t2002 5t1t2002 5t31t2002 $3,sso.o1
                                                                 i orrslzoo2lat VITAS HEALTHCARE CORP OF FL
110298 3t7t2002 6t1t2oo2 6t30t2oo2:i                    $0.00I 7/12l2O021813 V I T A S H E A L T H C A R EC O R P O F F L
110299 3t7t2oo2 6t1t2002"6t30t2002                      $0.00| 7t12t2002813                     V I T A S H E A L T H C A R EC O R P O F F L
110300 3t7lZOOZ't6t1t2002 6t30t2002" $3,s63.17i, t nztioozlafi                                  V I T A S H E A L T H C A R EC O R P O F F L
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             3t7t2oo2 7r1t2oo2 7 t31t2002               $0.00 8t12t2002813                      V I T A S H E A L T H C A R EC O R P O F F L
110302 3t7t2002 7 t1t2002 7/31t2002 $ 3 , 5 9 0 . 0 1 '8t t 1 2 1 2 0 0 2 , , 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
110303 3t1t2002 8/1120028t31t2002                       $0 00 9t12t2002813                      V I T A S H E A T T H C A R EC O R P O F F L
110304 3t7t2002 8t1t2002 8t31t2002l $3,590.01 gnZtZOOZiStl
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110305 3/7t2002 gt1tzoozl9t30t2002                      $0 00 l 10/23i20021813 j v r T A s H E A L T H C A R EC O R P O F F L
110306 3t7t2002 gt1t20o2 9t30t20021, $3,47420 " 10t23t20021813
                                                                J                             lvrrAs HE LTHCARE CORP OF FL
110307 3t7t2o\2 1 0 r 1 t 2 o o10t31t2002-
                                         2              $ 0 0 0 1 1 / 1 3 / 2 0 08 21 3         V I T A S H E A L T H C A R EC O R P O F F L
110308 3r7t2002 10t1t20021ot31t2OO2 $ 3 , 6 8 1 . 5j3i l l r S I z O Oj AZrs
                                                                                              . V I T A S H E A L T H C A R EC O R P O F F L
110309 3t7t2002 11l1 1200211t30t2002                    $ o o o 1 1 2 l i 3 l 2 o o 2 l s 1 3 V I T A S H E A L T H C A R EC O R P O F F L
110310       3t7t2002 11t1t200211t30t2002 $3,562.77 12t13t20021813 V I T A S H E A L T H C A R EC O R P O F F L
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110311       3t7t2002: 12t1t200212t31t2002;             $ 0 0 0 I 1 / 1 3 / 2 0 0 3 1 8 1 3 ivrreSHenlrgcAREcoRp oF FL
1 1 0 3 1 2 3 t 7 t 2 0 0 212t1t200212t31t2002          $ 0 0 0 1 / 1 3 / 2 0 0 3 i 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
11 0 3 1 3 3 t 7 / 2 0 0 21 2 / 1 t ? O O12t3112002
                                          2         $3.770  s 0 . 1 / 1 3 / 2 0 0831 3          V I T A S H E A T T H C A R EC O R P O F F L
110314       3t7t2002 1/ 1/ 2 0 0 3 1t31t2003           $0 00 ' 2t13t2003813                    V I T A S H E A L T } I C A R EC O R P O F F L
110315       3t7t2002 1t1t2oo3 1 t 3 1              $3.681  5 3 Z l r 3 I Z O O e i A r : V I T A S H E A L T H C A R EC O R P O F F L
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110316 3t7t2002 2t1t2003,                    J         $0.00 3 t 1                813          VITAS HEALTHCARE                     OF FL
110317, 3t7/2002 2t1t2003 2t28t2003 $3.325,25 3/13/2003,81                            3        V I T A S H E A L T H C A R EC O R P O F F L
11 0 3 1 8 , 3 n t 2 0 0 2 3t1t2oo3l3/31/2003          $o,qo 4/10/2003I813                    lvrtesHeRLTHCARE              coRpoF FL
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1103'19 3t7t2002 3t1t2oo3:3/31/2003]                   $0.00 4/10i2003813                                                   coEPoF FL
110320 3nt2002 3t1t2oo3-3/31/2003I $3,747,59 llrotzoo:lars                                    lvll{qlEAlrtlcARE
110321 3t7t2o12 4t1t2oo3 4/30/2003                                                           lvrrAs HEALTTICARE             CORPOF FL
                                               I       $o:oo 5t12t2003813                     ,vrTAS     HEALTHCARE         CORPOf FL
110322 3t7t2002 4t1r2OO3i            4/30/2003 i $3,56277 5 f 1 2 0 0 3 1 8 1 3               lvtrAq llEAlrHqARE cgRP oF FL
110323 3t7t2oo2 5t1t2003 5t31120031                    $0.00 6/13/2003813                     jvrTASHEALTHCARE              CORPOF FL
1 10324 3t7t2002 5t1t2oo3 5/31/2003 $ 3 . 6 8 1 . 5 3 6 / 1 3 / 2 0 0 3 . 8 1 3 VITASHEALTHCARE                             CORPOF FL
110325 3t7t2002 6/1/2003; 6/30/2003                    $0.00 7t14t2003813                     jv1r4s qemrHCARE coRp oF FL
110326 3t7t2oo2' 6t1t2oo3i6/30/2003            I       $0 00 tnctioozlatt                      VITASHEALTHCARE              CORPOF FL
110327 3t7t2oo2 6t1t2oo3 6/30/2003 $ 3 , 6 s 3 . 1 8 7114t2003                    813                    HEALTHCARE         CORPOF FL
110328 3t7t2002, 7t 1 t 2 O 0 37l t31t20031                                                   rvlTAS
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110329 3/7/20021 7/1/2003. 7/31/20$l $ 3 , 6 8 1 . 5 3 a7r              glzooe   lar:         IV|TASHEALTHCARE              CORPOF FL
110330 3t7t2OO2          | 8/1/2003i 8/31/2003         $0.00 9/11/2003181             3       IVITASHEALTHCARE              CORPOF FL
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             3r7t2002 8t1t2003 8/31/2003I              $0.00 9 / l 1 / 2 0 0 38 1 3           IVITASHEALTHCARE              CORPOF FL
110332 3t7t2002 8/1i2003 8t31t2oo3 $ 3 , 7 7 1 . 9 4 9 / 1 1 / 2 0 0 3 i 8 1 3 VITASHEALTHCARE                              CORPOF FL
110333 3/7t2002 9t1t2003 e/30/2003                     $0.00 10/13i2003           813
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I10334 3t7t2002 9/1/2003, 9/30/2003 $ 3 , 5 6 2 . 7 710/13/2003813                            ivrTASHEALTHCARE              CORPOF FL
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110335 3t7t2002';10t'U200310/31/2003I                  $0 00 11/r0/2003181            3                  HEALTHCARE         CORPOF FL
110336 3t7t2002 10t1t2003,.                                                                   rvtTAS
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110337 3t7/2002 't1t1 t2003 11/30t2003'                s0 00 12t11t2003            813        . V I T A SH E A L T H C A RCEO R PO F F L
110338 3t7t2002 11t1/200311/30/2003 $ 3 , 6 4 0 . 2 412t11t2003                                VITASHEALTHCARE              CORPOF FL
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110339 3t7t200? 12t1t2003i,         12t31t2o03l        $ 0 . 0 0 1 t 1 2 t 2 0 0 4 i . 8 1 3 VITASHEALTHCARE                CORPOF FL
110340 3t7t2002 12t1t2003,.         12t31t2003 $ 3 , 7 6 1 - 5 8 1t12t2OO4
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110342 3t7t2002t1 1 t 1 t 2 O 0 41t31t2OO4'1
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110343 3t7t2002 2t1t2004 2t29t20O41                    $ 0 . 0 0 3 / 11 / 2 0 0 4 1 8 1 3 lvrTASHEALTHCARE                  CORPOF FL
110344 3t7t2002 2 t 1 r 2 o o 42t29t2004
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110345 3t712002 3t1t2004,t3t31t2oO4                    $0.00 4t12t20O4)813 VITASHEALTHCARE                                  CORPOF FL
1 1 0 3 4 6 3 n n O O z : 3t'1t2004 3t31t2004 $ 3 , 7 6 1 . 5 84112t2004;.813                            HEALTHCARE         CORPOF FL
110347 3t7t2002 4t1t2004 4t30t2oo4i                                                           ,VITAS
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1'10348 3t7t2o}2' 4t1t2oo4 4t30t2004 $3,640.24 5/10/2004                          813
1't0343 3t7t2002 5t'U2004'..                                                                  lvrTASHEALTHCARE              CORPOF FL
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1f0350 3/7t2002 5t1/2004 5/31/20Oa             i $ 3 , 7 6 1 . 5 8 6 / 1 0 / 2 0 0 4 i 8 1 3 lvrTAs HEALTHCARE              CORPOF FL
1 1 0 3 5 1 3 t 7 t 2 0 0 2 6t1t2004 6t30t2004         $0 00 7t22t2oo4:            813         VITASHEALTHCARE              CORPOF FL
1.r03s2 3t7t2002 6t1t2oo4 6t30t2oo4l $3,64024 7t22t2004813                                     VITASHEALTHCARE              CORPOF FL
110353 3t7t2002 7 t1t2oo4 7t31t2004                    $0 00 8 / 1 3 / 2 0 0841 3              VITASHEALTHCARE              CORPOF FL
110354 3t7t2002 7J1t2004),           7l31J2004 t       $0.00 8i13/2004813                                HEALTHCARE         CORPOF FL
110355 3t7t2002 7t1t20o4                                                                      ivrTAS
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110356 3t7t2002 8t1t2004 8t31t2004                              T
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110357 3t7t2002 8t112004 8t31t2oO4l $3,76158 9/13/2004                            813          VITASHEALTHCARE              CORPOF FL
1 1 0 3 5 8 3 t 7 t 2 D O 2 9t1t2004,gt30t2oo4         $ 0 . 0 0 10/18/2004,81        3        VITASHEALTHCARE              CORPOF FL
110353 3t7t2002 9t1t2004 gt30t2oo4: s3,64024 10t18t2004813                                     VITASHEALTHCARE              CORPOF FI
134499 1t2712002 1t27tzog2l 1t31t2OO2                  $o q0 2118t2002,,812 lvlrAs ft!{llHcARE co8p 9F FL_
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134501 1t27t2002 1t27t2002' 1t31t2o}2'             $80010 2t18t2002812                         VITASHEALTHCARE              CORPOF FL
134502 1t27/2002 2t1t2002 2t28t2002                    $0 00 3t14t2002813                    .VITASHEALTHCARE               CORPOF FL
134503 1t27t2002 2t1t2002 2t28r2oo2' s3,24259 3 t 1 4 t 2 0 o 2 . 8 1 3 VITASHEALTHCARE                                     CORPOF FL
134504 1t27t2002                     3t31t2002         $0 00 4t15t2002813                      V I T A S H E A L T H C A R EC O R P
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134507, 1t27t2002, 4r1t2002 4t30t2002 $ 3 , 4 47 . 2 0 5t13t2002t813
134508 1t2712002i.5t1t200215t31t200?                        $0.00 o.rjarzoq{o13
134509 1r27t2002 5t1t20o2i 5t31t200?', $ 3 , 5 9 0 . 0 1 6t14t20021813
134510 1t27       t2OO2    , 6t1t2}Ozt 6t3Ol2OO2"           $ 0 . 0 0 7t12t2002i813
1 3 4 5 1 1 1 t 2 7 t 2 o \ 2 ' 6t1t?002t 6t3o/2o02,, $ 3 , 4 7 4 . 2 0 7t12t2O02J813
134512 1t27/2002 711l20O2t                7l31l2OOz         $0.00 8t12t2OO2i8',t3
13 4 5 13 1 t 2 t72 0 Q 2 7t1t2002 7t31t2002 $ 3 , 5 9 0 . 0 1 8t12t2002,,813
134514 1t27t2002, 8t1t2OO2t8t31t2OO2                        $ 0 . 0 0 9t12/20021813
134515 1127        t2002 8t1t2002,.8t31t2002 $ 3 , 5 9 0 . 0 1 9t12t20021813
134516 1t27t2002 9t1t2002, 9/30/2002                        $ 0 . 0 0 10t25t20021813
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134517 1t27t2002 9t1t2002\. 9/30/2002, $ 3 , 4 7 4 . 2 010t25t2o02)8't3
1345l 8 1l27t2OO2          i 10t1t200210t31/2002            $0.00 11 / 1 3 / 2 0 0 2 i 8 1 3
1345.19 1t27t2002 1Ot1 tz112t\1Ot31t2OO2 $ 3 , 6 8 1 . 5 311/1312002813
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134520 1t27t2002,11t1t2002             . 11t30t2002         $ 0 . 0 0 12t12/2002t.813
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134521 1t27t2002'11t1t200211t30t2002 $ 3 , 5 6 2 . 7 71 2 t 1 2 t 2 O 0 2 " 8 1 3
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134525 1127        t2002 1t1t20o3t 1'3.lt20o3\ $ 3 , 6 8 1 . 5 32/13/2003j813
134526 1t27t2002 2t1t2003 2/28t2003                         90 00 3 / 1 3 / 2 0 0831 3
134527 1t27/2002 2/1t2003 2t28r2003 $ 3 , 3 2 s . 2 5 3 / 1 3 / 2 0 0831 3
134528 1t27t200? 3t1t2003 3/31/2003r                        $0.00 4t10t2003J,8't3
134529 1127t2002 3t1t2003,3/31/2003 $ 3 , 6 8 1 . 5 34/10/2003181                       3
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134531i 1t27t2002 4t1t2OO3:4/30/20031 $0.00 5t12t20o31813
134s32 1t27t2002: 4t1t2003 4/30/20031 $3,702.80 512t20o7\813
134533i 1t27t2OO2 5t1t2oo3',5/31t2oo3i                      $ 0 . 0 0 6/13/2003i 813
134534 1t27t20021 5t1t2O03r               5/31/2003 $ 3 , 6 8 1 . s 3 q/13/?qo3j8l 3
134535 1t27t2002 6/1/2003i6/30/20031                        $0 00 7t1412003t813
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134538 1t27t2o\2' 711t2003 7t3112003 $ 3 , 6 8 1 . 5I3 8/13/2003r813
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134540 1t27t2o\2 8t1t2003 8/31t2003 $ 3 , 6 8 1                 5 3 9 / 1 1 / 2 0 0831 3
134541 1t27t2002 9/1/2003 9/30/2003                         $0.00 1 0 / 1 3 / 2 0 0831 3
134542 1t27t2002 9t1t2003 9/30/2003 $ 3 . 5 6 2                 7 7 1 0 / 1 3 / 2 0 0831 3
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134544 ',U27t2002 10/1/200310/31/20031 $ 3 , 7 6 1 . 5 81111               0/2003I813
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134545 1t27t2002 11I 1t20O3,1113012003                      $0.00t.12t11t2003i813
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134546 1127        t2o)2' 11t1t200311/30t2003 $ 3 , 6 4 0 . 2 412t11t2003813
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134548 1t27t2o}2 12t1t2o}312t31t2003 $ 3 , 7 6 1                5 8 1/12t2004813
134549 1t2712002 1t1t2004 1t31t2004                         $0.00 2t1112004          p13
134550 1t27t2002' 1t1t2oo4 1t31t2oo4' $ 3 , 7 6 1 . 5 8 2t11t2004:813
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134552 1t27t2002 2t1t2004 2t29r2004 $ 3 , s18 9 0 3t12r2004813
134553 1127t2002 3t1t2004 3t31t2004                         s0 00 4t1212004           813
134554 1t27t2002                          3131t2004       761           4t1212004     813
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1 3 4 5 5 6 r 1 t 2 7i 2 0 O 2. 4t1t2004 4t30t20O4              $0.00I 5/10/2004             813
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134557 1t27t2002                    4t1t2oo4'4t30t2004i         $0.00 5t10t2004813                         , V I T A S H E A L T H C A R EC O R P O F F L
134558 1t27 t2002                   4t1t2004 4t30t2004          $0.001 5110/20041813ivrr g IIEAL_IHqABE                                    CORPOFFL
1 3 4 5 5 9 1 t 2 7 t 2 0 0 2 , 4t1t2oo4l 4r30t2oo4l            $o.oo] q10/?oo4]813 .VITAS                   V I T A S HEALTHCARE          CORPOFFL
1 3 4 5 6 0 1 1 t 2 7 t 2 O 0 2 , 4 t 1 l 2 O O 44r30t2004t,
                                                  )          $5,1s0.8    i 95 / 1 0 / 2 0 0 4 1 8 1 3                  H E A L T H C A R EC O R P O F F L
134561 1t27t2002                    5t1t2004 5r31t2004          $0.00 6/10/2004              8't3          I V T T A S . H E A L T H C A RCEO R P O F F L
134562 1t27t2002                    5t1t2oo4,st31t2oo4i $ 3 , 7 6 1 . 5 8 6 / 1 0 / 2 0 0 48 1 3             V I T A S H E A L T H C A R EC O R P O F F L
13 4 5 6 3 1 t 2 1t 2 0 0 2 6t1t2004 6/30/2004                  $0 00 7t22t2004813                         . V I T A S H E A L T H C A R EC O R P O F F L
1 3 4 5 6 4 1 t 2 7 t 2 0 0 2 6t1t2oo4:6r30t2004 $3,64024 t 71221200a1813 V I T A S H E A L T H C A R EC O R P O F F L
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1 3 4 5 6 5 1 t 2 7 / 2 0 0 2 7t1t20041          7t3'U2004      $0.00 8/13/2004              813             V I T A S H E A L T H C A R EC O R P O F F L
1 3 4 5 6 6 1 t 2 7t 2 0 0 2 7 t1t2oo4 7t31t2004 $ 3 , 7 6 1 . 5 8 8 / 1 3 / 2 0 0 48 1 3
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134567 1t27t2002                    8t1t200418r31t2OO4   i      $o.ooi e/13/2oo4js13 I V I T A S H E A L T H C A R EC O R P O F F L
1 3 4 5 6 S 1 t 2 7 t 2 0 0 2 811t2004tI         8t31t2004i     $ 0 . 0 0i 9 / 1 3 / 2 0 0 4 1 8 1 3 . V I T A S H E A L T H C A R EC O R P O F F L
1 3 4 5 6 9 1 t 2 7 t 7 O O ? 8t1t2004 8t31t2004 $ 3 , 8 8 5 . 2 5 9 / 1 3 i 2 0 0841 3                      V I T A S H E A L T H C A R EC O R P O F F L
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1 3 4 5 7 0 1 t 2 7 t 2 0 0 2 9t1t2004i.         9/30/2004      $ 0 0 0 1 0 / 1 8 / 2 0 0841 3               V I T A S H E A L T H C A R EC O R P O F F L
1 3 4 5 7 1 1 1 2 7 t 2 0 0 2 9t1t2004 9/30/2004 $3,640.24r olrarzoociar                          a
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147036 1 1/6t2000 11/6/200011/30/2OOo                    i      $ 0 . 0 0] . 1 2 / 1 1 / 2 0 80 10 2       I V | T A S H E A L T H C A R EC O R P O F F L
147037 11t6t2ooo 11/6/2000i 11/30/20oOl                         $ 0 0 0 i 1 2 l 1 1 i 2 0 0 0 1 8 1 2 -Vnns  V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 0 3 8 . 1 1 / 6 / 2 0 0 0 11/6/200011/30/2000; $2,830.83           ',12t11t2000         812                       Henr-rHcARE        coRp oF FL
1 4 7 0 3 9 1 1 t 6 t 2 0 0 0 12t1t200012t31t2oool              so.oo    i riolzoor         iar:             VITASHEALTHCARE               .bRP OFFL
1 4 7 0 4 0 1 1 / ( r , ' 2 0 0 0 12t1t2000 12t31t2OOO          $ 0 0 0 1 / 1 0 / 2 0 0811 3               . V I T A SH E A L T H C A R EC O R P O F F L
1 4 7 0 4 1 1 1 t 6 / 2 0 0 0 12/1t200012/31/2000               $0.00 1t10/2001               813          . V I T A S H E A L T H C A R EC O R P O F F L
147042 1 1t6t2o}O 12t1tzo}Oi12t31t2000' $6,752.s1                        i ilr olzootlar a                   V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 0 4 3 , 1 1 1 6 1 2 0 0 0 . 1t1t2001 1t31t2001            $ 0 0 0 . 2 t 9 t 2 o o 1 l 8 1 3 ,VITAS HEALTHCARE COf,P OF FL
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1 4 7 0 4 4 1 1 / 6 / 2 0 0 0 1t1t2oo1        , 1t3'V2001i      $0 00 r _2/s/?901181? 'VrrRS                 VITAS HEALTHCARE CORP OF FL
147045 1 1/6/2000                   t h t2001i 1t31t2001l $3,533.84 219t20011813                                        HEeLtHcARE         coRp oF FL
1 4 7 0 4 6 1 1 / 6 / 2 0 0 0 i 2t112001 2t28t20011             $oooI 3/e/2ool             T8ia .l VV II TT AA SS H E A L T H C A R EC O R P O F F L
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147048 1 1/6/2000                   3t1t2oo1 3t3112O01    t     $0.00          4t9t2001813                 , V I T A S H E A L T H C A R EC O R P O F F L
147049 11t6t2o}O 3t1t2001 3131t2001 $3,353r2 {slzoor
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1 4 7 0 5 0 1 1 / 6 / 2 0 0 0 4t1t2oo1j,4t30t2oo1j,             $0.00]. 5/11/2001                                                          CORP OF FL
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147051 11t6r2o}0l 4t1t2001 4t30t2001, $ 3 , 4 0 7 . 1 5 5 / 1 1 / 2 0 0811 3
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1 4 7 0 5 4 1 1 r 6 t 2 0 0 0 5t1t2001 5r31t2oO1' $3,70'l          .44 6t11t2001              813            V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 O ! t 5 1 1 l C t t 2 0 0 O 6t1t?001 6r30r2oo1',          $ 0 0 0 , 7 / 9 / 2 0 0i 1                   V I T A S H E A L T H C A R EC O R P O F F L
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1 4 7 0 i : 6 1 1 / ( , / 2 0 ( X ) 6t1t2001 6/30/200   1    s3.40715          7t9/2001813                   V I T A SH E A L T H C A R EC O R P O F F L
1 4 7 0 5 7 ' l 1 / 6 / 2 0 0 0 7 t1t2001 7 t31t2001            $o,0ql 8/9/2oolis13                        l v r T A S H E A L T H C A R EC O R P O F F L
1 4 7 0 5 8 1 1 t 6 t 2 0 o } , 7 t1t2oo11,      7t31t2001      $0 00 , 8/9/2001                             V I T A S H E A L T H C A R EC O R P O F F L
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1 4 7 0 5 9 1 1 / 6 / 2 0 0 0 7 t1t2OO1i         7l31t2o}1:) $3,701.44                                       VirAsHenlrucARE               coRpoF FL
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14 7 0 6 0 1 1 t 6 t 2 0 0 o 811t2001         , 8131t2001       $ 0 0 0 9 / 1 0 / 2 0 0811 3                 VirnSHEnITHCARE               coRpoF FL
1 4 7 0 6 1 1 1 / 6 / 2 0 0 0 8t1t2001 8t31t2001                $0.00 9/10/2001             i813           . V I T A S H E A L T H C A R EC O R P O F F L
147062 1 1/6/2000                   8t1t2oo1 8t31t2001 $ 3 , 7 0 1   4 4 9 / 1 0 / 2 0 0811 3               , V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 0 6 3 1 1 / 6 / 2 0 0 0 9t1t2001 9/30/2001                $0 00 , 10/8/2001             813           . V I T A S H E A L T H C A R EC O R P O F F L
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1 4 7 0 6 4 1 1 t 6 t 2 0 o } 9t1t2001"9/30/2001          l $3,40715 10/8i2001              i813            , V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 0 6 5 1 1 / 6 / 2 0 0 0 10t1t2001        10/31/2001'      $ 0 0 0 1 1 / 9 / 2 0 0118 1 3               V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 0 6 6 1 1 / 6 / 2 0 0 0 10t1t200110/31/2001 $ 3 , 5 9 0 1 1 1 / 9 / 2 0 0811 3                         V I T A S H E A L T H C A R EC O R P O F F L
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1 4 7 0 71 11/6/2000 1211t2001
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 1 4 7 0 7 2 11/6/2000 1t1tz}O2jt1B1tz}O2l                              $0.00 2t't1t2oo2l813                   lvrTAs_$q4ITHoARE CORP OF FL
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1 4 7 0 7 8 11t6t2o}O 411t2002 4t30t2002                                $o00          5/9t2002,813               V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 0 7 g l 11t6t20oo 4t1t2\Ozi 4r3Ot2OO2i$3,474.20 5t9t2002813                                                V I T A S H E A L T H C A R EC O R P O F F L
14 7 0 8 0 11/6/2000 5t1t2oo2,5r31t2002,                                $ 0 . 0 0 6t10t2002813
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1 4 7 0 8 1I 11/6/2000                                               $3,59001 I': olrolzoozlaig                  vrrAs HEALT!1qARE CORP OF FL
147082 11t6t2000 6t1t2002i 6t31t20021                                   $0.00 7t11i20021813 , V I T A S H E A L T H C A R EC O R P O F F .
14 7 0 8 3 11/6/2000 6t1t2002: 6t30t2002 $ 3 , 4 7 4 . 2 0 7t11t20021813 VITAS HEALTHCARE CORP OF FL
147 084 11t6r2000' 7t1t2oo2 7t31t2002',
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14 7 0 8 5 11t6t20oo 7t1t2002 7t31t2002,                                $0 00         8/s/20021813 V I T A S H E A L T H C A R EC O R P O F F L
14 7 0 8 6 11t6t2000. 7t1t2002 7t31t2002 $3,766-47 8/9/20021813
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147 087 11t6t2000 8t1120021i                      8131t2OO2'            $0 00 9t11t2002813                     ' VITAS
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14 7 0 8 8 11t6120O0t8t1t2oo218t31tzo)2j, $ 3 , 5 s 0 . 0 1 w r i l z o o z f a 1 3                                        HeRItHcARE coRp oF FL
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14 7 0 8 9 11t6t20ool 9t1t2002 9t30t2002                                $ 0 . 0 0I 1 0 / 2 4 1 2 0 08213         V I T A S H E A L T H C A R EC O R P O F F L
14 7 0 9 0 11/6t2000 9t11200? 9t30t2002                                 $ 00 0 1 0 / 2 4 1 2 0 8    0123         V I T A S H E A L T H C A R EC O R P O F F L
14 7 0 91 11/6/2000 9t1t2002 gt30t2oo2 $3,65066
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147092. 11/6/2000 1Ot1tzoozl 1Ot31t2OO2t.                               $0.00111t11t2002t813 V I T A S H E A L T H C A R EC O R P O F F L
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              11/6/2000 1Ot112002i 10131                l2OO2. $ 3 , 6 8 1 . 5 31 1 t 1 1 t 2 O\O   81 23      rvtTAS!lEALTHCARE CORP OF FL
147094 11/6/2000 11t 112002 1113012002,                                 $o,oo    ]lnn'rriooiilats V I T A S H E A L T H C A R EC O R P O F F L
'147095                                        I
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              11/6/2000 11| 112O02                                                 1                             V I T A S H E A L T H C A R EC O R P O F F L
147057 11/6/2000; 12til2002 12t31t2002                                  $ 0 . 0 0I irioizooC]at                  V I T A S H E A L T H C A R EC O R P O F F L
14 7 0 S 8 11/6/2000 12t',v200212t31t2002 $ 3 , 6 8 1 . 5I3 1/10f2o03]813
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14 7 0 9 9 11t6t2000 1t1t2003,,1t31t2003i                               $ 0 . 0 0| 2t12t20031813                 VITAS HEALTHCARE CORP OF FL
14 7 1 0 0 11t6t2000 1t1t2003 1/31i20031 $ 3 , 6 8 1 . 5 3 2r12t2003813                                          VITAS HEAITHCARE CORP OF FL
1 4 71 0 1 11t6t2000 2t1t2003 2t28t2003
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147102 l1t6t2o}Oi 2t1t2o$l 2t28t2o\3i $ 3 , 3 2 5 . 2j5 arizr2oo:lsra V I T A S H E A L T H C A R EC O R P O F F L
14 7 1 0 3 11t6t20oo' 3 t 1 t 2 0 0 3 : 3 / 3 1 / 2 0 0 3 r             $0.00 4/9/2003
14 7 1 0 4 11t6t2000 3/r/2003 3/31/2003 $ 3 , 6 8 1
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                                                                            53        4/9/2003 813               V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 1 0 5 11t6t2000 411t2003 4t30t2003                                $0 00         5 / s / 2 0 0 3 i 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 1 0 6 11/6t2OO0 4t1t2003 4t30t2oo3 $ 3 , 5 6 2                        77        5/9/2003813                V I T A S H E A L T H C A R EC O R P O F F L
14 7 1 0 7 11t6r2000 5/1/20031                    5/31/2003             $0 00 6/16/2003813                     . V I T A S H E A L T H C A R EC O R P O F F L
14 7 1 0 8 11t612000 5/1/20031                    5/31/2003. $ 3 , 6 8 1    5 3 6 / 1 6 / 2 0 0 3 ] s 1 3 V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 1 0 9 11t6t2o}O 6/1/2003i6/30/2003;                               $0.00 7t11t2o031813 , V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 1 1 0 11t6t2000 6t1t2003.6/30/2003 $3,56277 7t11t2003                                         813          V I T A S H F A L T H C A R EC O R P O F F L
1 4 7 111 11/6/2000 7t1t2003 7t31t2003                                  $ 0 . 0 0 8 / 11 / 2 0 0 38 1 3          V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 1 1 2 11t6t2o11 7t1t2oo3 7t31t2oo3'                               $ 0 . 0 0 8 / 11 / 2 0 0 3 1 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
1 4 7 11 3 11t6r2000 7t1t2OO3t                    7t31t2OO3,$ 3 , 7 9 7 . 9 0 8 / 11 / 2 0 0 3 1 8 1 3 .VITAS HEALTHCARE CORP OF FL
1 4 7 11 4 11/6/2000 8t1t2003 8/31/2003                                 $ 0 . 0 0 9/10/2003         813          V I T A S H E A L T H C A R EC O R P O F F L
1 4 711 5 11/6/2000 8t1t2oo3 8t31t2003 $ 3 , 6 8 1 . 5 39 / 1 0 / 2 0 0 3 i 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
l 4 l 1 1 { i 't I /6/20t)0 gtlt?oo3 9/30/2003                          $0 00 1O / 1     0 / 2 0 0 3 '183        V I T A SH E A L T H C A R EC O R P O F F L
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1 4 7 1 1 9 1 1 / 6 / 2 0 0 0 10t1t2003 10/31/2003                   $0 00 1 1 t 1 4 t 2 0 0 38 1 7                    H E A L T H C A R EC O R P O F F I
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147122 11t6t20o} 11t1t2OO3i                    11/30/2003I $3,640.24
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1 4 7 1 2 3 . 1 1 t 6 t 2 0 0 0 12t1t200312t31t2003,                 $0.00I 1/9/20041813 VITASHEALTHCARE                                  CORPOF FL
1 4 7 1 2 4. 11 / 6 / 2 0 0 0 12t1t2003',      12t31t2003', $ 3 , 7 6 15 8 I lelzoo+lora
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1 4 7 1 2 5 ' , 1 1 l 6 i 2 0 0 0 1t1t2O04i     1t31t2004            $0 0g         2t9t20049',t3                                          qOEP OF FL
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1 4 7 1 2 6 , 1 1 / 6 / 2 0 0 0 1t1t2004 1t31t2004 $ 3 , 7 6 1 . 5i,           8 itstzoot\an                :VITASHEALTHCARE              CORPOF FL
1 4 7 1 2 7 1 1 t 6 t 2 0 0 0 2t1t2004 2t29t2004                     $0 00 . 3t11t20O4t813                  .VITASHEALTHCARE              CORPOF FL
1 4 7 1 2 8 , 1 1 / 6 / 2 0 0 0 . 211t2004 2t25t2004 $ 3 , 5 1 8 . 9r 03 / 11 / 2 0 0 4 1 8 1 3             ;VITASHEALTHCARE              CORPOF FL
1 4 7 1 2 9 1 1t 6 t 2 0 0 0 : 3t1t20041.       3t31t2004:           $ 0 . 0 0I 4 / 1 2 1 2 0 0 4 t 8 1 3 VITASHEALTHCARE                 CORPOF FL
1 4 7 1 3 0 , 1 1 i 6 l 2 0 0 0 3t1t2004 3t31t2004 $3,761.58 4r12t2004                            813       ivrTASHEALTHCARE              CORPOF FL
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1 4 7 1 3 4 1 1 t 6 t 2 0 0 0 5t1t2oo4 5t31t2OO4 $ 3 , 7 6 1             58        6 / 9 / 2 0 0 4 1 8 1 3 lvrTASHEALTHCARE               CORPOF FL
14713{t 111612000 6t1t2004 6/30/2004                                 $0.00 7t21t2004813                     ]VITASHEALTHCARE              CORPOF FL
147136 11t6t2o}0                     6t1t2004 6r30t2004 $3,640.24 7t21t2004813                               VITASHEALTHCARE              CORPOF FL
147137 11t6t2000                     7 t1t2004 7 t31t2004            $0.00 8t12t2004',813 VITASHEALTHCARE                                 CORPOF FL
1 4 7 1 3 8 1 1 / 6 / 2 0 0 0 l 7 t1t2004 7 t31t2o}4i $3,76t.58 8t12t?004                         813                  HEALTHCARE         CORPOF FL
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1 4 7 1 4 0 1 1 / 6 / 2 0 0 0 Bt1t2004 B/31           ,',2004 $ 3 . 7 6 1 5 8 9 t 1 3 t 2 0 0 4 8 1 3        VITASHEALTHCARE              CORPOF FL
1 4 7 1 4 1 1 1 t 6 t 2 0 0 0 9t1/2004 9/30/2004                     $ 0 . 0 0 1 0 / 1 5 / 2 0 0 48 1 3      VITASHEALTHCARE              CORPOF FL
147142 11t6t2000 9t1t2004 9t30t2004: $3,640.2410t15t2004                                          813        VITASHEALTHCARE              CORPOF FL
1 5 8 0 7 2 . 8 t 1 4 t 2 0 0 1 , 8t14t2oO18t31t2001                 $ 0 . 0 0 9 / 1 0 / 2 0 0 1 ; 8 1 2 ivTTASHEALTIICAEE                CORPOF Fr
1 5 8 0 7 3 . 8 t 1 4 t 2 0 0 1 , 8t14t2001 8/31/2001                So.oo    i slrolzoorrere lvrTASHEALTHCARE                            CORPOF FL
1 5 8 0 7 4 8 t 1 4 t 2 0 0 1 8t14t2001 8t3112001 $ 2 , 2 6 8 . I6 1s t r o l z o o i f a r z
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158075 8t14t2001,                               9/30/200    1        $ o o oI 1 o l s / 2 0 0 1 1 8 1 3VITASHEALTHCARE                    CORPOF FL
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1 5 8 0 7 7 i 8 1 1 4 t 2 O 0 1 9t112001 9/30/2001            i $3,587.8710/8/2001                813
                                             1                                                              lvr]49 HEALTHCARE             CORPOF FL
1 5 8 0 7 8 8 t 1 4 t 2 0 0 1 10t1t20011,      10t31t2001'.          so oo rVg2oorlsrs                      ,VITASHEALiHCARE              CORPOF FL
15 8 0 7 9 I U 1 4 t 2 0 0 1, 10r1t200110t31t2001 $ 3 , 5 9 0 . 0i1 1 1 / 9 / 2 0 0i 811 3
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1 5 8 0 8 0 , B t 1 4 t 2 o o 1 ' t11t1t2001   11t3ot2oo1            $ o . o oi 1 2 r t o l z o o { 8 1 3
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1 5 8 0 8 1 8 t 1 4 t 2 0 0 1 ' 11t'tt2001 11t30r200'l $3.47420 ',t2t10n001                       813      lvrTASHEALTHCARE               CORPOF FL
1 5 8 0 8 2 8 t 1 4 t 2 0 0 1 12t'tt2001"      1 2 1 3 1 t 2 O O 1 l $ o o o I 1 / 1 0 / 2 0 0 2 1 8 1 3 VITASHEALTHCARE                  CORPOF FL
1 5 8 0 8 3 8 1 1 4 t 2 0 0 1 12t1t2001        12t31t2001' $ 3 , 5 S 0 . 0. 1 1 t 1 0 t 2 0 0 2 ' , 8 1 3 VITASHEALTHCARE                 CORPOF FL
1 5 8 0 8 4 a t 1 4 t 2 0 0 1 1t1t2002 1t31t2002                     $0.00 zt't1t2002813                    ,vtTASHEALTHCARE              CORPOF FL
1 5 8 0 8 5 8 t 1 4 1 2 0 0 1 1t1/2002 1t31/2002 $3.59001 2t11t2002                               813        VITASHEALTHCARE              CORPOF Ft
1 s 8 0 8 6 8 t 1 4 t 2 0 0 1 . 2t1t2O022t28t2002                    $0.00I 3/1112002             813
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1 5 8 0 8 7 8 t 1 4 t 2 0 0 1 2t1t2002,t2t28t2OO2)$31242159ln t tzoozlats
1 5 8 o S 8 i 8 t 1 4 t 2 } O 1 i l 3t1t2002 3t31/2OO2)
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1 5 8 0 8 9 8 t 1 4 t 2 0 0 1 3t1t2002 3r31t2002 $3.590.01 4t10t2002813                                      V I T A S H E A L T H C E A EC O A P O r T I
1 5 8 0 9 0 8 t 1 4 t 2 o } 1 , 4t1t2002 4t30t2002                   $0.00 5/9i20021813 j v r T A S H E A L T H C A R EC O R P O F F r
1 5 8 0 9 1 8 t 1 4 t 2 0 0 1 4t1t2002: 4lgot2oo2 $3,47420                         5t9t2002813               V I T A S H E A L T H C A R EC O R P O F F L
1 5 8 0 9 2 i 8 t 1 4 t 2 O 0 1 , 511120025t31t2002                  $0100i qllo/20q21813 ' V                V II T
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1 5 8 0 9 6 . 8 t 1 4 t 2 0 0 1 7t1t2002 7t31t2002                   $0 00 8t12t2002813                      V I T A S H E A L T H C A R EC O R P O F F L
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15 B 0 9 8 8 t 1 4 t 2 0 0 1 8t1/2002 8/31t2002
1 5 8 0 9 9 8 t 1 4 t 2 0 0 1 8t1t2OO2i
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1 5 8 1 0 0 B t 1 4 r 2 o o 1 9t1t2OO2,      9t3Ot20O2)            $ o . o oi 1 o / 2 1 l 2 o o 2 i B 1 3 , V I T A S H E A L T H C A R EC O R P O F F L
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1 5 8 1 0 4 8 t 1 4 t 2 0 0 1 11| 1t20O2 11t30t 2002               $ 0 . 0 0| 1 2 l 1 1 / 2 0 0 2 1 S 1 3 ]Vii4S!enliHcnRe                          coRp oF F L
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1 5 8 1 0 8 8 t 1 4 t 2 0 0 1 12t1t200212t31t2002 $3,802.37                  I ilr OIZOOSTOr              g         VITASHEALTHCARE                 CORPOF F L
1 5 8 1 0 9 . 8 t 1 4 t 2 0 0 1 1t1t2OO31t31tz}O3'i                S0.00 211212003:813 ivrTAS!1E4Lr!CARECORPOF F L
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1 5 8 1 1 7 r U 1 4 t 2 0 0 1 ' 4t1t2OO3t4t30t2}031                $0 00 . 5/9/2003ia13 lvtr4q HEALI|CARE coRP oF F L
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158122 8t14t2001                   6t1t2003,6/30i2003      i $ 3 , s 6 2 . 7j7 7 / 1 1 / 2 0 0 3 1 8 1 3 i v t T A S H E A L T H C A R EC O R P O F F L
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1 5 8 1 3 3 8 t 1 4 t 2 o } 1 12t1t200312t31t2003                  $o oo     ;      1rct2oo4'813                    V I T A S H E A L T H C A R EC O R P O F F L
1 5 8 1 3 4 8 1 1 4 t 2 0 0 1 12t1t200312t31t2003                  $ 0 . 0 0 1 / 9 / 2 0 0841 3                     V I T A S H E A L T H C A R EC O R P O F F L
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1 5 8 1 4 1 8 t 1 4 t 2 o } 1 3t1t2004 3131t2004                   $ 0 . 0 0 4t12t2004813                           VITASHEALTHCARE                 CORPOF F L
158142 8114t2001 3t1t2004 3t31t2004                                $ 0 . 0 0 4t12t2O04i813 IVITASHEALTHCARE                                         CORPOF F L
1 5 8 1 4 3 8 1 1 4 t 2 o } 1 3t1t2004',3t31t2oo4'                 $ 0 . 0 0 4n,noo4i813
'158144                                                                                                           lvrTASHEALTHCARE                  CORPOF F L
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158150 8t14t2001 6t1t2004 6/30/2004 $3,640.24't                                 iiit tzoot'an               VITASHEALTHCARE               CORPOF FL
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158.t54 8t14t2OO1            i 8r1t2004 8t3112004                   sooo] s--r2oo+lere Vrrns HenlrHcARE coRp oF FL
158155      g  t ' t 4 t 2 0 0 1 Btlizoo4li Bt3it2oo4i $ 3 , 7 6 1 . 5 8 9 / 1 3 i 2 0 0841 3              lvrTAs HEALTHCARE              CORPOF FL
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16208612t17t2oo2l                                                            1                 i81         ivrTAS
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1 6 2 0 8 71, 2 t 1 7 t 2 0 012117t2002
                               2.            12t31t2002 $ 1 , 7 8319 i 1 t 2 3 t 2 0 o 3 ' ) 8 1 2VITASHEALTHCARE                         CORPOF FL
162088,12/17t2002, 1/1/2003i1t31t2OO3', $ 0 0 0 2 / 1 3 / 2 0 0 3 1 8 1 3
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1 6 2 0 8 91 2 t 1 7 t 2 0 o 2 r1/1/200311t31t2003i $3,681              s3 i 2t13t20031813 jvtTASHEALTHCARE                               CORPOF FL
16209012t17t2002 2t1t2003 2t28r2003                                 $ 0 . 0 0 3 / 1 3 / 2 0 0 3 i 8 1 3 jvtTAS HEALTHCARE                 CORPOF FL
162091 12t17t2o}zl 2t1t2oo3' 2t28t2o}3', $ 3 , 3 2 5 . 2 5 3 / 1 3 / 2 0 0831 3
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16209212t17t20o2' 3t1t2003i 3/31/2003                               $ 0 0 0 4 / 1 8 / 2 0 0 3 t 8 1 3 VITASHEALTNCARE                     CORPOF FL
162093 12t17t2002' 3t1t2O03t3t31t2003 $ 3 , 6 8 15 3 4 / 1 8 i 2 0 0 3 r 8 1 3
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162094 12t17t2002.' 4t1t200314/30/2003                              $0.00I 5/12l20031813 ,VITASHEALTHCARE                                 CORPOF FL
162095 12t17t2002 4t1t2003i4t30t2003'. $3,562.77 5t12t2o\3813                                                          HEAL.THCARE        CORPOF FL
16209612t17r?OO25t1t2003 5t31t2003                                                                         IVITAS
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162098 12t17t2002 5t1t2003 5t31t2o}3' $ 4 , 5 9 9                       2 2 6 / 1 9 / 2 0 0831 3                       HEALTHCARE         CORPOF FL
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162100 12t1712002 6t1r2j03i 6/30/2003,                              $0 00 7t14r20}31813 VITAS}IEALTHCARE                                  CORPOF FL
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162'105.   12t17t2002t 8t1t2003            . 8t31t2003,             $ 0 0 0 ] 9 / 1 1 / 2 0 0831 3         jvrTASHEALTIqARECORPOF FL
16210612t17t2002 8l1t2OO3                   j 8131t?003,            $ 0 0 0 l 9 / 1 1 / 2 0 0 3 ! 8 1 3 'VITASHEALTHCARE                  CORPOF FL
162107 12t17t20O2' 8/1/2003i8/31/2003 $ 3 , 7 6 0 . 1 6 9 / 11 / 2 0 0 3 i 8 1 3 ]VITASHEALTHCARE                                         CORPOF FL
162108 12t17t2002 9/1/2003 9/30/2003                                         I
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162109r12t17t2002 9/1/2oO3l9i30/2003r $3.562.7710/13/2003                                       813        l v t T A S H E A L T H C A R EC O R P O F F L
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16211212t17t200211t1t2003:                    11B0t2oO3             $ oo oj r z n r r z o o a ' e t r V I T A S H E A L T H C A R EC O R P O F F L
1 6 2 1 1 31 2 t 1 7 t 2 0 0 21 1 r 1 t 2 o }131 / 3 0 / 2 0 0 3 $3.64024 12t11t2003            813          V I T A S H E A L T H C A R EC O R P O F F L
16211412t17t200212t1I 2OO3                 I 12131t 2003,           $0 00 1 1112t20Q4t813 ,vtTAS HEALTNCARE CORP OF FL
16211512t17t2Q0212t1 t2003i 12t31 tzoc3|. $3,761.58 1n42004,i813
162116 12t17t2002 1t1t20o4l1t31t2OO4i
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16211712t17t2002 1tlt2004 1t31t2004 $3.76158 Zt'rtZOOq'ets IVITAS            t                               V I T A S H E A L T H C A R EC O R P O F F L
16211812t17t2002 2t1t2004 2t29t2004                                 $ 0 0 0 i 3 / 1 1 / 2 0 0841 3         ,VITASHEALTHCJRECORP OF FL
16211912t17t2002 2t1t20041,                    2t29t2oj4 $ 3 , 5 1 8    90 i 3t11t2OO           8413         V I T A S H E A L T H C A R EC O R P O F F L
162120 12t1712002 3t112004'j3t31t20O41                              $ 0 . 0 0, 4 / 1 2 l 2 0 0 4 , 8 1 3 VITAS HEALTHCARE CORP OF FL
162121:12t17t20O2' 31112004i3131/2004t.$ 3 , 7 6 15 8 4 t 1 2 n 0 0 4 ' 8 1 3                                VITAS HEALTHCARE CORP OF FL
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162122 12t17t2002 4t1t2004 4t30r2004                                $ 0 0 0 ' 5 / 1 0 / 2 0 0 48 ' 1 3       V I T A S H E A L T H C A R EC O R P O F F L
16212312t17t2002 4t1t2oo4i 4t3ot2o}4 $ 3 . 6 4 02 4 5 / 1 0 / 2 0 0 48 1 3                                   V I T A S H E A L T H C A R EC O R P O F F L
16212412t1712002 511 t2oo4' 5131t2OO4'                              $ 0 0 0 6 / 1 0 / 2 0 0 48 1 3           V I T A S H E A L T H C A R EC O R P O F F L
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16212512t17/2002 5t1t2004 5t31t2004                                 $0 00 6/10/2004813                       VIT              THCARECORP OF
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162127 12t1712002 5t1t2004 5131t2004, $ 6 . 4 8 6 . 2 4 6
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162128 12t17t2002 611120046t30t2004                     $0.00 7t22t2004813                     ivrTASHEALTHCjRE               CORPOF FL
16212912t17t2o\2t,6t1tzl}4tt 6i3O/2004i $3.640.24 t tZZrZoO+lan
'16213012t17t2002i,                                              |                            _1v!r4sHEALIHqAEECORPOF FL
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162132 12t17t2002 8t1t200418B1t2o}4',1                           I
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162133 12t17t2002 8t1t2004 8t31t2004 $3,761s8 9/16/2004                            813
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16213412t17t2002                       9/30/2004        $ 0 . 0 0 1 0 / 1 8 / 2 0 0841 3         VITASHEALTHCARE              CORPOF FL
162135 12t1712002 9t1t2004 9/30/2004 $ 3 . 6 4 0            2 4 1 0 / 1 8 / 2 0 0841 3         lvrrAs Hq4\!THCARE             CORPOF FL
169291 2t23t2o\2 2t23t2002i 2t28t20021                  $ 0 . 0 0 3 / 1 8 / 2 0 0 2 1 8 1 2 LVTTAS         HEALTHCARE         CORPOF FL
169292 2t23t2002 2t23t2002 2t28t2oo2                    $0.00 3r18t2002812                                                    CORPOF FL
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169293 2t23t2002 2t23t2o)2i 2t2't2o)2j                  $00o ] 3/18/2002.812 VITASHEALTHCARE                                  CORPOF FL
169294 2/23t2002 2t23t2002',2t28t2oo2:,,                $0.00 3t18t20021812 VITASHEALTHCARE                                   CORPOF FL
169295 2t23t2o\2 2t23t2002 2t28t2002                    $ o . 0 o r 3 / 1 8 / 2 0 0 2 ' 8 1 2 ivrTASHEALTHCARE                CORPOF FL
169296 2t23t2002 2123t2002 2r28t2002                    $0 00 3t18t2002'812                    .VITASHEALTHCARE               CORPOF FL
169297 2t23t2002 2l23t2OO22128120O2,$2,37023 :, 3t't8tz}ozi8t2
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169298 2t23t2002 3t1t2002 3t31t2002                     $ 0 0 0 - 4 / 1 0 i 2 0 0821 3         ,VITASHEALTHCARE               CORPOF FL
169299 2t23t20021,3t1t2002 3t31t2oo2 $3,590.01 4t10n002,813                                      VITASHEALTHCARE              qORPOF FL
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169300 2t23t2002 4t 1tzoo2i, 4t26i/2002'                $0 00 5t30t2002817                     .VITASHEALTHCARE               CORPOF FL
169301 2t23t2002: 4t1t2oo2',           4t26t2oo2" $3,01098 5t3ot2oo2                817          VITASHEALTHCARE              CORPOF FL
169302 l:l9l2OO2 5t9/2002 5t31t2002                     $0 00 6t19t2002812                       VITASHEALTHCARE              CORPOF FL
169303 5t9t2002 5t9t2oo2 5t31t2002                      $0 00 6/19/2002812                       VITASHEALTHCARE              CORPOF FL
169304 5t9t2002' 5t9t2002' 5131t2002', $2,802.50 6t19t2002812                                    VITASHEALTHCARE              CORPOF FL
169305, 5tgt2o02          , 6t1t2002 , 6t30t2002,       $ 0 . 0 0. 7 / 1 1 / 2 0 0821 3        TVITAS      HEALTHCARE         CORPOF FL
169306 5t9t2002 6t1t2002 6t30t2002 $3,474.20 7t11t2002:813 VITASHEALTHCARE                                                    CORPOF FL
169307 5tgt2002" 711t2002,7t31t20021                    $0.00 8/9/2002t813 IVITASHEALTHCARE                                   CORPOF FL
169308   . st9t2002',17t1t2OO2',7r31t2}Ozi        $ 3 , 5 9 0 . 0I1 A l g l z o O z l e t e lVITASHEALTHCARE                  CORPOF FL
16S309 5t9t2002 8t1t20o2             t Bt16t2O02        $ 0 0 0 1 / 3 1 / 2 0 0831 7             VITASHEALTHCARE              CORPOF FL
169310 519t2002 8t1t20O2t8t16t2oo2i                     $ 0 . 0 0 1 / 3 1 / 2 0 0831 7           VITASHEALTHCARE              CORPOF FL
169311 5t5t2002 8t1t2002 811612002                      $ 0 0 0 I 1 / 3 1 / 2 0 0 3 i 8 1 7 V I T A S H E A L T H C A R EC O R P O F F L
169312 5tgt2o}2 8t1t2002j,8r16t2002i $ 2 , 1 6 8 8 2 1 / 3 1 / 2 0 0831 7                      ] V I T A S H E A L T H C A R EC O R P O F F L
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169313 9t13t20029r13t2OO2i              9t3Ot2OO2       $ 0 . 0 0j 1 0 / 2 4 1 2 0 0 2 i 8 1 2 V I T A S H E A L T H C A R EC O R P O F F L
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169314 g/13t20021           911312002i  9t30t2002       $0.00)10t24t20021812 V I T A S H E A L T H C A R EC O R P O F F L
16931  5 9t13t2002gt 13t20021,gt30t2oo2l. s2.22346 10t24t2002812                               ] V I T A S H E A L T H C A R EC O R P O F F L
169316 9t13t2002 10t1t200210t31t2002                    $ 0o o 1 1 / 1 1 / 2 0 0   8213        , V I T A S H E A L T H C A R EC O R P O F F L
169317 9t13t2002 10t1t200210t31t2002                    $0 00 11t1'v2oo2813                      V I T A S H E A L T H C A R EC O R P O F F L
169318 9/13/2002 10/1/200210t31t2002                    $ 00 0 1 1 / 1 1 / 2 0 0   8213          V I T A S H E A L T H C A R EC O R P O F F L
169319      gt13t2o12        10t1t200210t31t2002 $ 4 , 2 5 1 . 6 71 1 t 1 1 t 2 0 0 2 , 8 1 3 VITAS HEALTHCARE CORP OF FL
169320 gt13t2oo2 11t1t200211r30t2002                    $ 0 . 0 0 1 2 l 1 1 i 2 0 0 2 : 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
169321 9t13t2002 11| 1t 2OO211 t3Ot2OO21, $3,562.77 12t11t2002813                                V I T A S H E A L T H C A R EC O R P O i F L
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169322 9t13t2002 12t1t200212t31t2002                    $ 0 0 0 1 / 1 0 / 2 0 0831 3             V I T A S H E A L T H C A R EC O R P O F F L
169323 5t131200212t1t2oo212t31t2002 $ 3 , 6 8 1s 3 1 / 1 0 / 2 0 0 3 i 8 1 3
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169324 gt13t2o02 1t1120031t31t2003                      $0 00 ,,rr12963t,813 V I T A S H E A L T H C A R EC O R P O F F L
169325 9t13t2002 1t112003 1t31t2003 s3.681.53 2t12t20031813
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169326 gt13t2oo2 2t1t2003 2t28t2003'                    $ 0 0 0 3 / 1 2 1 2 0 0 3 1 8 1 3 VITAS HEALTHCARE CORP OF FL
169327 9t13r?OO2 2t1t2oo3 2t28t2oo3 $3,3252s 3t12t20}31813
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169328 gt13t2oo2 3t1t2003 3/31/2003                     $0 00         4t9t2003813              . V I T A S H E A L T H C A R EC O R P O F F L
169329 9t13t2002 311t20033/31/2003                      $0.00 4t9t2003,813 V I T A S H E A L T H C A R EC O R P O F F L
169330 9t13t2002 3 t 1                  3t31t2003 $3.8s930                                       V I T A S H E A L T H C A R EC
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169332 9t1312002                     4t1t2003 4/30/2003 $ 3 , 5 6 2 . 7 7 5 / 9 / 2 0 0 3 r 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
169333 9t13t2002                     5t1/2003i5/31/2003,                     $0.00 6 / 1 6 / 2 0 0831 3         ; V I T A S H E A L T H C A R EC O R P O F F L
169334 9t13t20o2                     5t1t2o03l5i3112003                      $o:00 6/16/2003            813     I V | T A S H E A L T H C A R EC O R P O F F L
169335 5t13t2OO2i                    5t1t20031       5/31/2003i $3,8s9.30 6/16i2ooaISl 3                        IV|TAS HEAITHCASE CORP OF FL
169336 9t13t2002,                    6/1i2003i6/30/2003                      $0 00 7t11t2003813                 , V I T A S H E A L T H C A R EC O R P O F F L
169337 9t13t2002                     6t1t20031,6/30/2003             i $3,56277 7 t11t2003:813 l v r T A S H E A L T H C A R EC O R P O F F L
169338i gt13t2oo2:                   7t1/2003t7t31t2OO3l                     $ 0 . 0 0 s / 11 / 2 0 0 3 ; 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
169339 9t13t2002                     7t1t2O03\7t31t2003                      s 0 . 0 0 8 / 1 1 / 2 0 0831 3     i v r T A S H E A L T H C A R EC O R P O F F L
169340, 9t13t2002,                   7t1t2OO3i       7t31t2OO3 $ 3 , 8 s 9 . 3 0 8 / 1 1 / 2 0 0 3 i S 1 3 l v r r A s H E A L T H C A R EC O R P O F F L
169341 9t13t2002                     8 t 1 t 2 0 0 3 t , 8 t 3 1 t 2 0 0 3 $ 0 . 0 0 9 i 1 0 1 2 0 0831 3         V I T A S H E A L T H C A R EC O R P O F F L
169342 9t13t2002                     8t1t2003 8/31/2003 $ 3 , 6 8 1 . 5 3 9/10/2003813                            VITASfIEALTHCARE CORP OF FL
169343 9t13t2002'                    gt1t20o3'i9/30/2003                     $0.o0 10/1oit003ls13               . V I T A S H E A L T H C A R EC O R P O F F L
169344: gt13t2OO2                    9/1/2003i9/30/2003 $3,562.771 o / 1 o / 2 0 0831 3                         , V I T A S H E A L T H C A R EC O R P O F F L
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169348 gt13t2o}2 1 1 t 1 t 2 O O                    113 /l 3 0 / 2 0 0 3 $3,640.2412l10/2003813
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169349 9t13t2002 1211t2003                          12t31t2003               $0.00 1/9/2004             813     .VITASHEALI HCARE CORP OF FL
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169358 9t13t2002                     2t1t?004,2t2st2004tl $ 4 , 1 0.1? 7 3/11/2004181                      3    j v r T A S H E A L T H C A R EC O R P O F F L
169359i 9t13t20021, 311t20o4l3/31/20041                                      $0.00 4t1tt2oo4i.at3                 VITAS HEALTHCARE CORP OF FL
169360 5t13t2002, 3r1t20o4t3/31/20041                                        $0.00 4t12t2004813                   VITAS HEALTHCARE CORP OF FL
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169374                               7t1t2004 7t31t20041                     $ 0 . 0 0 8r12t20;O4ltr3              V I T A S H E A L T H C A R EC O R P O F F L
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40309        2t1t2oo1 4t1t2oo1i4t30t2001i                         $ 0 . 0 0 5i16/2001r813           VITASHEALTHCARE               CORPOF FL
40310        2t1t2001 4t1t2001 4t30t2001 $ 3 , 5 3 0 . 6 7 s l r o l z o o r : e t g VITASHEALTHCARE                              CORPOF FL
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4 0 3 13     2t1t2001 6/1/2001 6/30/200                 1         $ 0 . 0 0 7 / 1 3 / 2 0 0811 3   , V I T A S H E A L T H C A R EC O R P O F F L
40314        2t1t2oo1 6t1t2001'orcoizoor                  I $ 3 , 4 0 7 . 1 5 7 t13t20011813 -VrRS  VITAS HEALTHCARE CORP OF FL
4 0 3 15     2t1t2oo1 7 t1t20o1 7t31t2001                         $0.00 arr       sl2oor   Iar:                HenlrHcAREcoRp oF FL
4 0 3 16     2t1t2001 7tlt2oo1: 7t3112001                 i $ 3 , s 2 0 . 7 2 8/13/2001    ]813    , V I T A S H E A L T H C A R EC O R P O F F L
403.17       2t1t2OO1 Bt1t2o}1 8t31t2001                          $ 0 . 0 0 9 / 1 4 / 2 0 0] 8113  -VVIITTAASS H E A L T H C A R EC O R P O F F L
4 0 3 1I     2t1t2001 8t1t2oo1              , 8t31t2001 $3.520.72 9t14t2001                  813               H E A L T H C A R EC O R P O F F L
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40320        2t1/2001     . 9t'tt2001i glaolzoot $3,407.'1              5 1Ot22t20011813 lvlrAs HEALTHqAEE                        cOBpoF FL
40321        211t2001 10t1t2001torcttzooti                        $ 0 . 0 0 11t14t2001               VITAS     HEALTHCARE         CORPOFFL
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40324        ?111200111t1t2001               11t30t2001 $ 3 , 4 7 4 . 2 012t14t2001                  VITASHEALTHCARE              CORPOF FL
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40325        2t1r2oo1 12t1t2001'                                  $ 0 . 0 0 1t14t2002813           lvrTASHEALTHCARE               CORPOF FL
40326,       2r1t2001     . 12t1t200112131t2001 $ 3 , 5 9 0 . 0 1 1t14t2o12813                       vrTASHEALTTICARE             CORPOF FL
40327 .      2t112001 1t1t2002 1t31t2OO2ti                        $0.00 2t14t2002813                 VITASHEALTHCARE              CORPOF FL
40328        2t1t2001 1t1QOO21t31t2002t,$3,590.01 zn+tzoozlen
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4 0 3 2 9l   2t1t2001     , 2t1t20o?' 2t28t2002t,                 $0.00) 311412002           813   .VITASHEALTHCARE               CORPOF FL
40330        ztltzoolt ztltzooz' ?t28t2002 $ 3 , 2 4 2 . 5I9v r a i z o o 2 ] a r s
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40331        2t1t2001     , 3til2002 3t3ttzoo2'                   $0.001 4 / 1 5 / 2 0 0 2 i 8 1 3 lvrTASHEALTHqARE               CORPOF FL
40332        2t1t?001 3t1t200? 3t31t2002 $ 3 , s 9 0 . 0 1 4/15/2002                       1813    lvrTASHEALTHCARE               CORPOF FL
40333        2l1t2oo1t 4t1t2002             . 4/30/2002           $0.00 slrelzoozar l              lvlrAs HEAIrHCARECORPoF FL
40334        2t1t2001         4t1t2002 4t30t2002 s3,474.20 st13t2002                         813
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40337        2t1t2001 6t1t2002 6t30t2002                          $0 00 7t12t2002813                VITASHEALTHCARE               CORPOF FL
40338        2t1t2001 6t1t2002 6t30t2002 $ 3 . 4 7 2                  4 0 7t12t2ol2813              VITASHEALTHCARE               CORPOF FL
40339        2t1t2Q01 7 t1t2002 7 t31t2002                        $0 00 8t12t2002813                VITASHEALTHCARE               CORPOF FL
40340,       2t1t2001 7 t1t2002 7t31t2002 $ 3 , 5 9 0 . 0"t1 811212002i8'13
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4 0 3 41     2t1t2oo1 8t1t2oo2t,8t31t2OO2i                        $0 00 9t12t2002813               lvl-lAs ryEAlTtlcARECORPOF FL
40342        ztit2ool         Bt1t2oo2l8t31t20021 $3,590.0'l               i" sitztzooztatr vrTAs HEALTICARECO8P OF FL
40343        2t1t2001 9t1t2002 9130t2002                          $0 00 .10t23t2002813              VITASHEALTHCARE               CORPOF FL
40344        2t1t2001 9t1t2002 gt3ot20o2, $3.474.20                        .10t23/2002.813 VITASHEALTHCABE                        CORPOF FL
40345        2t1t2001 1ot1t2oo210t31t2002                         $0 00 11t13t2002           813    VITASHEALTHCNRE               CORPOr rI
40346        2t1t2001     . 10t1t2002.       1013112002 $3,68153 .1111312002t813 -VrrASHenlrscARE   VITASHEALTHCARE               CORPOF FL
40347        2t1t2001 11t1t200211t30t2002:,                       $0 00 12t13t2002813                                             coRp oF FL
40348        2t1t2001 11t1t2o12              11t30t2002 $ 3 , 5 6 2   7 7 12t13t2002813             VITASHEALTHCARE               CORPOF FL
40349        2t1t2001 12t1t200212t31t2002                         $0 00 1 / 1 3 / 2 0 0831 3        VITASHEALTHCARE               CORPOF FL
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40351        2t1t2001 12t1t20021 2 t 3 1                    $3.759    6 7 1 / 1 3 / 2 0 0831 3       V I T A S H E A L T H C A R EC O R P O F
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40354. 2t1t2001 2t1t2oo3,2t28t2oO3                       $ooo | 3/13i2oo3ls13                                H E A L T H C A R EC O R P O F F L
40355 2t1t2001| 2t1t2003. 2t28t2oO3\ $3,325.25 311312Q03.81                                3     lvrrns HeefHcARE coRp oF FL
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40356 2t1t2001 3t1t2OO3'l               3/31/2003        $0.00I 4/16/2003r813 Ivrins                         nenr-THCARE        coRp oF FL
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40357; 2t1t2001 3/1/2003 3t31t2oO3\) $3,68L53L 4./1912_903f                            813                   H E A L T H C A R EC O R P O F F L
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4 0 3 5 S 1 Z l n O O 1 . 4t1t2003 4130t2003             $ 0 . 0 0] 5 / 1 2 l 2 0 0 3 ] 8 1 3 lvlrAs HqALIlticABEqoRP oF FL
40359 2t1t2001 4t1t2003 4t3ot2oo3, $3.562.77 5t12t2003                                 813        VITASHEALTHCARE               CORPOFFL
40360 2t1t2001 5t1t2003 5t31t2oO3                        $ 0 . 0 0i 6 / 1 3 / 2 0 0831 3          VITASHEALTHCARE               CORPOF FL
40361 2t1t2001 5/1/2003 5/3'l/2003                       $0,00I 61131?0031813                     VITASHEALTHCARE               CORPOF FL
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40362 2t1t2001 5/1t2o}3l 5/31/20031 $ 3 , 7 6 0 . 1                I 66 / 1 3 / 2 0 0 3 1 8 1 3              HEALTHCARE         CORPOF FL
40363 2t1t2001. 6t1t2003 6/30/2003                       $ 0 . 0 o! 7 t 1 4 t 2 0 0 3 1 8 1 3 lvtTASHEALTHCARE                  CORPOF FL
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40365 2t112001           , 7t1t2003:i7t31t2oo3i          $0.00I 8/13/2003              813         VITASHEALTHCARE              CORPOF FL
40366, 2t1t2001 7t1l2o03i)7t31t20031,$ 3 , 6 8 1 . s               I 3a l r s l 2 o o a i a r s VITASHEALTHCARE                 CORPOF FL
40367 211t2001 8t1t2003 8/31/2003                        $ 0 . 0 0 9 / 11 / 2 0 0 38 1 3         .vrrAs HEALTHCARE              CORPOF FL
40368 2t1t2o}1 8t1t2oo3' 8t31/2003: $3.681                  .53I SlrrlZOOSier              s       VITASHEALTHCARE              CORPOF FL
40369 2t1t2o}1 9t1t2OO39/30/2003
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40370 2t1t2001 9t1t2003 s/30/2003                i $ 3 , 5 6 2 . 7I71 0 / 1 3 / 2 0 0831 3       lvrrns HealrucARE coRp oF FL
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40372 2t1t2001i 10r'1/2003l            10r31/2003I $3,761     s8ir rlrolzoodar             a       VITASHEALTHCARE              CORPOF FL
4 0 3 7 3 2 t 1 t 2 0 0 1 11t1t2003    11/30/2003        $ 0 0 0 . 1 2 t 1 1 t 2 0 08313           VITASHEALTHCARE              CORPOF FL
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40375       2t1t2o}1, 12t1taoffil12t31t2003j             $0.0o) 1t12t20041813 VITASHEALTHCARE                                   CORPOF FL
40376 2t1t2001 12t1t200312131t20O3,$3,761.58 1t12t2004]813
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4 0 3 7 7 . 2 t 1 t 2 0 0 1 , 1t1t2004'\1t31t2OO4i       $0.00I 2/16/2004]'813 ,VITASHEALTHCARE                                 CORPOF FL
40378       2t1t2001 1t1t2004')1t31t2004l                $0.00I 2/16i2004813
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40379 2t1t20o1l 1t1t2004 1t31t2O04               j $4,463.i9 zitatioul att                       tvlIAS Hq4LrllCARE coRP oF FL
40380 2t1t2001 2t1t2004' 2t2912004                                                                 VITASHEALTHCARE              CORPOF FL
40381 2t1t2OO1           | 2t1t2oo4 2t29t2oo4.,                                                  lvlTAS HEALTHCARE              COTPOF FL
4 0 3 8 2 . 2 t 1 t 2 0 0 1 12t1t2004',2t29t2oo4' $7,154.88 3t31t2004817                           VITASHEALTHCARE              CORPOF FL
40383 2t1t2001 3t1t2oo4 3t31t2o}4                        $0.00\ 4t12t20041813ivrTAs HEALTHCARE                                  CORPOF FL
4 0 3 8 4 . 2 t 1 t 2 0 0 1 , 311t2oo4 3t31t2OO4 $3.761.58         J +nZtzOOqJaB |vlrAs f qALrltcARE coRP oF FL
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40386 2t1t2001. 4t1t2oo4' 4t30t2004 $3,640.24 5/20/20041813                                                  Heel+rcnnecoRPoF FL
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40390 2t1t2001 5t1t2004 5t31t2004                        $0.00, 6t28l2004817                      V I T A S H E A L T H C A R EC O R P O F F L
40391 2t1t20011 5t1t200415t31t2oo4l                      $0.0o| 6t28t2004              817       , V I T A S H E A L T H C A R EC O R P O F F L
40392. 2t112001          t 5t1t2004 5t3112004            $0.00] 648/2004i817                       V I T A S H E A L T H C N N EC O N P O r T I
40393 2r1t2001 5t1t2004 5t31t2004 $15,89025 6t28t2004                                   817        V I T A S H E A L T H C A R EC O R P O F F L
40394 2t1t2001 6t1t2004 6t30t2004                        sooo . 7t22t20041813 r v l T A S H E A L T H C A R EC O R P O F F L
40395 2t1t2001 6t1t2004 6t3ot2oo4                        $0 00 7/22/2004'813                       V I T A S H E A L T H C A R EC O R P O F F L
40396 2t112001 6t1t2004 6/30/2004                1       $0.00 7t22t2004813                        VITAS HEALTHCARE CORP OF FL
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40399 2t1t2001 6t1t2oo4 6t30t2oo4                        $0 00 7t22t2004813                        V I T A S H E A L T H C A R EC O R P O F F L
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40404 2t1t2001 7 t1t2OO4t,                  7 31t2OO4      |     $0.00 8t27t2004817                  lvrrRsHeelrucAREcoAp oF FL
40405 2t1t2o\1 7t1t2004i7t31t2j04i                               $0.00 8t27t2004i817 lvrTASHEALTHCARE_CORP                                  OF FL
40406 2t1t2001' 7t1t2004 7t31t2004                               $0.00 8,t27t2}O4tp17 lvlrAs I-{EALTHCARE                           CORPOF FL
40407 2t1t2001t, 7t112004\7t31t2004 $8,793.59 8t27t2094817
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40408 2t'tt2o}1 8t1 t2}O4tt 8t3'lt2OO4'l                         $ 0 . 0 0 e/1 6/20oalBl      3      lvrTASHEALTHCARE               CORPOF FL
40409 2t1t2001 8t1t2OD4l8t31t2004i,                              $ 0 . 0 0 9/16/2004i 813              V I T A S H E A L T H C A R EC O R P O F F L
40410 2t1t2001 8t1t2004 8t31t2004i                               $0.00 9 / 1 6 / 2 0 0841 3            V I T A S H E A L T H C A R EC O R P O F F L
40411 2t1t2o}1 8t1t2004"8t31t2004) $6,34200 9/16/2004 3
                                                                                          i81        lvrTAS HEAIIHCARE CORP OF FL
40412 2t1t2001:. 9t1t2004 9t30t20041                             $ 0 . 0 0 10i18/2004813               V I T A S H E A L T H C A R EC O R P O F } L
40413 2t1t2001 911t2004,9t3Ot2OO4.$ 3 , 6 4 0 . 2 41 0 / 1 S / 2 0 0 4 1 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
5 1 3 3 S g t 1 4 t 2 0 o 29t14t2002
                              :             9t30t2002            $ 0 . 0 0 11t1t2002'817 , V I T A S H E A L T H C A R EC O R P O F F L
51340 gt14t20o2 stl4t2oo2i e/30/2oo2i                            $0 00 1111t20Q2           t817      l v r T A S H E A L T H C A R EC O R P O F F L
51341 9t14t20029t14t2002 9t30t2002\                              $0 00 11t1t2002tt817 V I T A S H E A L T H C A R EC O R P O F F L
51342 9t14t2002 9114t2002 9t3ot2o02' b z . J z J . I I                      11t1t20021817 V I T A S H E A L T H C A R EC O R P O F F L
51343 gt14r20o2 1Ot1t2OO2| 1Ol31tz\O2l                           $0 00 11t11t2002          813         V I T A S H E A L T H C A R EC O R P O F F L
5 1 3 4 4 , g t 1 4 t 2 o 0 21.0t 1 t2oo2,10t31t2002j $ 3 , 6 8 1 . 5 311t1 1t2002i813
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51345 9t14t2002;.            11| 112002,,  11t3Ol2OO2      i     $0 00       7t7t2OO3l817 l v l T A S H E A L T H C A R EC O R P O F F L
51346, gt14t20o2l 11t1t2002\               11t30t2002            $0 00       7nt2003 817             lVtTAS l{EAITHCARE COBP OF FL
51347 9t14t2002' 11t 1 t20o2l,11 t3ot2o}zi,                      $0.00 7t7t20$1817                   l v r T A S H E A L T H C A R EC O R P O F F L
51348 9t14/2002 11t1/200211130t2002                              s0 00       7 t 7 t 2 0 Q 3 . 8 1 7 V I T A S H E A L T H C A R EC O R P O F F L
51349. 9t14t2002          . 11 t 1 t 2 O O
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51350 9114t2002 11I 1I2OO2t,11l3OI2OOZ\ $ 3 , 9 0 0 . 4 6 7nt2003i817                                lvrtes gEeLTHcARE coRp
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5 1 3 5 1 9 / 1 4 1 2 0 0 212t1r2O02,12131t2002'l                $ 0 . 0 0 1/10/2003813                V I T A S H E A L T H C A R EC O R P O F F L
51352, 1 9t14t2002 12t1l2OO2.12t3112002l $ 3 , 6 8 1 . 5 3'1l10/20031813
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51353, 9t14t2002, 1 r 1 t 2 O 0 31./ 3 1 / 2 0 0 3 1             $ 0 . 0 0 2t12t20031813 , V I T A S H E A L T H C A R EC O R P O F F L
51354 9t14t2002 1t1t2003 1t31t2O03i s 3 , 6 8 1 . 5 3 2t12t2003813                                   I V I T A S H E A L T H C A R EC O R P O F F L
5135s. 9t14t20021 2t1t2j03l 2t28t20031                           $ 0 . 0 0 3i17/2003]813             ] V I T A S H E A L T H C A R EC O R P O F F L
51356,9/14/2002                2t1t2OO3')   2t28t2jo3i           $0.00 3/17/20031813                 r v t T A S H E A L T H C A R EC O R P O F F L
51357 9t14t2002 2t1t2003 2t28t2003                               $0.00 3 / 1 7 1 2 0 0 3 1 8 : r 3 v r T A s H E A L T H q A R E C O R P O F F L
51358 9t14t2002" 211t2O$1,2t28t2}O3t,                            s0 00 3/17/2003181           3        V I T A S H E A L T H C A R EC O R P O F F L
5 1 3 5 9 ,9 / 1 4 / 2 0 0 2 r2t1r2OO3\2t28t20}3| $4,382.69 3/17/2003]81                      3      . V I T A S H E A L T H C A R EC O R P O F F L
51360 9t',|4t2002 3t1t2003 3/31/2003                             $0 00       4 / 9 / 2 0 0 3 1 8 1 3 V I T A S H E A L T H C A R EC O R P O F F L
51361, 9t14l2OO2t,              3/1/200313/31/20031              $0.00 4 / 9 / 2 0 0 3 ! 8 1 3 l v r T A S H E I L T H C A R E C O R P O F F L
51362 9t14t2002 3t1t2003 3t31t2003                               $0.00 4t9t2003813                     V I T A S H E A L T H C A R EC O R P O F F L
51363 9t14t2002 3t112003.3t31t2o\3                               $0 00       4/9/2003813               V I T A S H E A L T H C A R EC O R P O F F L
5 1 3 6 4 9 t 1 4 t 2 0 0 2 3t1t2003 3/31/2003                   $0 00       4/9/2003813               V I T A S H E A L T H C A R EC O R P O F F L
51365 9/1412002 3t1t2003,,3/31i2003 $5,445.33 4/9/2003181                                     3      .VITAS HEALTHCARE CORP OF FL
s1366 9t14t2002 4t1t2OO3t,                  4/30/20031           $0 00       5/9/2003     1813         V I T A S H E A L T H C A R EC O R P O F F L
51367' gt14t2o}2') 4 t 1 t 2 o 0 3 , , 4 / 3 0 / 2 0 0 3$3,562 i     77      5/9/2003     I813       . V I T A S H E A L T H C A R EC O R P O F F L
51368 9114t2002 5t1t2003 5/31/2003                               $0 00 6 / 1 6 / 2 0 0831 3            V I T A S H E A L T H C A R EC O R P O F F L
51369 5t14t2002 st1t20o3,5t31t2003. $ 3 , 6 8 1 . 5 3 6/16/2003 13                                     V I T A S H E A L T H C A R EC O R P O F F L
            gt14t2o02:                                                                    ,8
51370                          6t1t2003 6i30/2003                $0 00 7t11t2003.813 V I T A S H E A L T H C A R EC O R P O F F L
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51372 9t14t2002 7t1t20031,7B1t2}caj                              $0.00 8/11/t003is 13                Jviins HenlrHcAREcoRp oF FL
51373 9t14t2002 7 t 1 t 2 0 0 3 ' 7 t 3 1 t 2 0 0 3$:3 , 6 8 1 . 5 3 8t11t2003813                      V I T A S H E A L T H C A R EC O R P O F F L
5'1374     gt14/2002            8t1t2003 8t31t2003               $0 00 9/10/2003,813                   V I T A S H E A L T H C A R EC O R P O F F L
5 1 3 i 5 9 / 1 4 l 2 0 0 2 B/1/2003 8/31/2003 $ 3 , 6 8 1           5 3 9 / 1 0 / 2 0 0831 3          V I T A S H E A L T H C A R EC O R P O F F L
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5 1 3 8 1 1 ,g 1 4 t 2 o \ 2  10t1t2003110/31/2003 $3,761,58                        813
             gt14t2oo2                                           L1140{?003                    iyrrAq HEAITHCARE CORP OF FL
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51384 9t14t2002, 11t1t200311t30t2003                                                           IV|TAS HE L_THCARECORP OF FL
                                                        $3,818.01   l,12t10t2003      513      l v r T A S H E A L T H C A R EC O R P O F F L
5 1 3 8 5 9 t 1 4 t 2 0 0 2 12t1t200312t31t2003            $ 0 0 0 , 8 / 2 6 / 2 0 0 4 , 8 1 7 V I T A S H E A L T H C A R EC O R P O F F L
5 1 3 8 6 9 t 1 4 t 2 0 0 2 12t1   t2OO3
                                       , 1?t31t2003i       $0.00 8t26t2004817                  ; V I T A S H E A L T H C A R EC O R P O F F L
5 1 3 8 7 9 t 1 4 t 2 0 0 2 12t1t200312t31t2003         $3,s09.08I, azatzooq'att               . V I T A S H E A L T H C A R EC O R P O F F L
5 1 3 8 8 9 t 1 4 t 2 0 0 2'    1t1t2004 1t31t2o}4         $0 00        2t9t2004813            ,VITAS HEALTHCARE CORP OF FL
5 13 8 9 ; 9 / 14 / 2 0 0 2     1t1t2oo4t 1t31t2o}4' $ 3 , 7 6 1 . 5 8 1z t g t z o o t : a t z
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513911, 9t14t2002. 2t1t2oo4 2t2gt2oo4:                     $0.00I 6/2112004           817        lvrTASHEALTHCARE    CORPOF FL
5 1 3 9 2 9 t 1 4 t 2 0 0 2 2t1t2004 2tzgt2oo4 $3,632.56 6t21t2004                    817
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5 1 3 9 4, 9 t 1 4 t 2 0 0 2 , 3t1t2OO4   3t31t2OO4
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5 1 3 9 5 9 t 1 4 t 2 0 0 2 4t1t20o4,4t3ot2004i            $ o . o oI s / 1 0 / z o o 4 l 8 i 3 VITASHEALTHCARE      CORPOF FL
51396 9t14t2002                 4t1t2004,4t30t2004'l $3,640.24      I 5t10t2004       813         VTTASHEALIHCARE    CORPOF FL
51397 gt14t2o}2                 5t112004 5t31t2004           $0.00       6/9/2004813             VITASHEALTHCARE
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5 1 3 9 8 9 t 1 4 t 2 0 0 2 u1r?oo4 5/31/2004          $0 00    6 / 9 / 2 0 0 4 8 13  VITASHEALTHCARE CORPOF FL
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51400 St14t20o2                 5t1tzoo4i 5t31t2oo4 $3,85500    6/9/2004813           VITASHEALTHCARE CORPOF FL
5 1 4 0 1 g t 1 4 t 2 O O|2 611t2OO4t    6/30i2004     $0.00I 8/26/2004i817 VITASHEALTHCARE
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5 1 4 0 2 t 9 t 1 4 t 2 O O 2 , 611
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i l 4 O 5 i U 1 4 1 2 O O 2 ' , 6t1r2OO4i                    I
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51407 9t14t2002                 711t2004 7t31t2004 $3,761.58 , 8t12t2004        813   vrTAS LiEAITHCARE
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5 1 4 0 8 g t 1 4 t 2 0 o 2 : 8/1/2004i st31t2oo4l           $ o 0 o i 9 / 1 3 / 2 0 0 4 , 8 1 3 ]VITASHEALTHCARE
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5 1 4 0 9 , 9 / 1 4 / 2 0 0 2 811
                                t2OO4,t8t31t20O4',i $ 3 , 7 6 1 . 5 8 9 / 1 3 / 2 0 0 4 , 8 1 3
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5 1 4 1 0 5 1 1 4 t 2 0 0 2 9t1t2004 st30t2004            $ 0 . 0 0 1 0 i 1 5 / 2 0 0841 3       V I T A S H E A L T H C A R EC O R P O F F L
5 1 4 1 1 9 t 1 4 t 2 0 0 2 911t2004 9/30/2004 $ 3 , 6 4 0    2 4 1 0 / 1 5 / 2 0 0841 3         V I T A S H E A L T H C A R EC O R P O F F L
